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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

CALEB BARNETT, et al.,
     Plaintiffs,
             vs.
                                           Case No. 3:23-cv-209-SPM
KWAME RAOUL, et al.,
                                           ** designated Lead Case
     Defendants.

DANE HARREL, et al.,
     Plaintiffs,
             vs.
                                           Case No. 3:23-cv-141-SPM
KWAME RAOUL, et al.,
     Defendants.

JEREMY W. LANGLEY, et al.,
     Plaintiffs,
             vs.                           Case No. 3:23-cv-192-SPM
BRENDAN KELLY, et al.,
     Defendants.

FEDERAL FIREARMS
LICENSEES OF ILLINOIS, et al.,
     Plaintiffs,
                                           Case No. 3:23-cv-215-SPM
             vs.
JAY ROBERT “JB” PRITZKER, et al.,
     Defendants.



         ATTORNEY GENERAL RAOUL, GOVERNOR PRITZKER, AND
           ISP DIRECTOR KELLY’S RESPONSE IN OPPOSITION TO
          PLAINTIFFS’ MOTIONS FOR PRELIMINARY INJUNCTION


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                                        INTRODUCTION

       The Framers left us a legacy of self-government through our elected representatives. They

did not leave future generations powerless to limit access to the preferred instruments of mass

murderers.

       The people of Illinois’s elected representatives recently passed the Protect Illinois

Communities Act, Public Act 102-1116 (“the Act”), which restricts access to assault weapons and

large capacity magazines. They did so in response to a horror the Framers never witnessed nor

imagined: a single individual, armed with a weapon of war more recent than the hydrogen bomb,

fired 83 shots, killed 7 people, and wounded 48 others in less than 60 seconds at a July 4th parade

in Highland Park, Illinois. Plaintiffs claim the Second Amendment, as interpreted in New York

State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), gives them the right to buy

and sell this weapon of war and others of equal potency. It doesn’t.

       Bruen reaffirmed that the Second Amendment does not enshrine “a right to keep and carry

any weapon whatsoever in any manner whatsoever and for whatever purpose.” Id. at 2128. In

doing so, Bruen relied on District of Columbia v. Heller, 554 U.S. 570 (2008). Even as Heller

invalidated a municipal ban on possessing handguns—“the quintessential self-defense weapon”—

it simultaneously recognized that “weapons that are most useful in military service—M-16 rifles

and the like,” can be banned. Id. at 627–29. In other words, Heller distinguished military-grade

weapons, like the M-16, that may be banned, from weapons commonly used by civilians for self-

defense, like handguns, that may not.

       The Act regulates weapons and accessories like those categorically marked as unprotected

in Heller. That is why it does not infringe the Second Amendment. The most commercially

successful weapons restricted by the Act, AR-15 rifles, are M-16s in every way except one: the

ability to toggle between semi-automatic and automatic fire. That distinction is not constitutionally
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determinative, nor has it stopped mass shooters from using the AR-15 time and again to inflict

battle-level casualty numbers in American schools and streets.

       Bruen did not overrule Heller and it does not prevent legislatures from limiting access to

weapons of war like the AR-15. It did clarify the two steps courts should use to analyze Second

Amendment claims. First, Bruen puts an initial burden on the party bringing a Second Amendment

challenge to demonstrate the amendment’s “plain text” covers conduct regulated by the law being

challenged. Second, if the challenging party carries this initial burden, the government can

demonstrate the regulation complies with the Second Amendment because it is “relevantly similar”

to analogous historical regulations and is thus “consistent with the Nation’s historical tradition of

firearm regulation.” Bruen, 142 S. Ct. at 2131. Plaintiffs here fail at both steps.

       Plaintiffs cannot meet their burden of showing assault weapons and large capacity

magazines are “arms” protected by the text of the Second Amendment. Large capacity magazines

are accessories, not “arms,” and they are neither independently capable of nor necessary for self-

defense. They augment the lethality of firearms by reducing the frequency of re-loading in battle—

or during the episodic massacres that now punctuate modern American life.

       The other weapons and accessories regulated by the Act are also not “arms” protected by

the Second Amendment because they are not commonly used for self-defense—“‘the central

component of the [Second Amendment] right itself.’” Bruen, 142 S. Ct. at 2135 (quoting Heller)

(emphasis original). In Heller and Bruen, the Supreme Court said the “arms” protected by the

Second Amendment are those in common use by law-abiding citizens for self-defense—like a

handgun, which both decisions called “the quintessential self-defense weapon.” Id. at 2143

(quoting Heller). The assault weapons restricted by the Act are not commonly used for self-

defense; by design and in practice, they exist for offensive infliction of mass casualties.



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       Plaintiffs’ claims will also fail at Bruen’s second step because the Act’s restrictions are

“consistent with the Nation’s historical tradition of firearm regulation.” 142 S. Ct. at 2130. Bruen

made clear that its use of “historical tradition” is not a “regulatory straightjacket,” and the

government may use “analogical reasoning” to show that a modern firearms regulation is

relevantly similar to historical regulations. Id. at 2133. A “more nuanced approach” to analogical

reasoning is also appropriate where a case implicates “unprecedented societal concerns or dramatic

technological changes.” Id. at 2132. This is exactly such a case: the Act responds to an utterly

modern concern borne of dramatic technological change—mass shootings perpetrated by lone

individuals armed with assault weapons and large capacity magazines capable of carnage at a level

inconceivable to the Framers of either the Second or Fourteenth Amendments.

       Although the specific concern targeted by the Act is modern, the Act continues a historical

tradition that both Bruen and Heller recognized: restrictions on “dangerous and unusual” weapons.

Bruen, 142 S. Ct. at 2128. From the Colonial Era onward, legislatures have regulated specific

categories of weapons thought to be particularly “dangerous” or “unusual”—from pocket pistols

in the 17th and 18th centuries, to concealable “fighting knives” and revolvers in the 19th century,

to machine guns and assault weapons in the 20th century. When specific weapons have generated

new threats to public safety, elected representatives have responded. Consistent with this historical

tradition, the federal government passed a ten-year ban on assault weapons in 1994 in response to

the growing threat of mass shootings. And because of that same escalating threat, Illinois has

joined 8 other states, the District of Columbia, and numerous localities in banning their sale now.

The Act is consistent with “this Nation’s historical tradition of firearm regulation,” id. at 2126,

and Plaintiffs’ claims will independently fail at Bruen’s second step.




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       Plaintiffs seek orders enjoining enforcement of the Act. Their requests must be denied.

Plaintiffs are unlikely to succeed on their Second Amendment claims. Plaintiffs also have not met

their burden on the other elements for relief: they are unlikely to suffer irreparable harm without

an injunction; an injunction would not be in the public interest; and the balance of equities tips

away from invalidating a critical public safety measure.

                                        BACKGROUND

       Mass shootings with assault weapons and large capacity magazines have skyrocketed

nationally, especially in the last two decades. Since the 9/11 terrorist attacks, the deadliest

individual acts of intentional criminal violence in the United States have all been mass shootings.

Ex. 4, Klarevas Dec. ¶ 11. While the U.S. population grew 20% during this time period, the number

of people killed in high-fatality mass shootings increased 260%. Id. The large and growing

proportion of these massacres committed with assault weapons and large capacity magazines

reflects a clear preference among the perpetrators for these weapons. Id. ¶¶ 12–13. Meanwhile, the

ease with which these weapons and magazines can be operated by novices “transforms terrorists,

criminals, deranged people, or disconnected teens with poor coping skills and intent to kill into

killing machines.” Ex. 5, Andrew Dec. ¶ 42.1 Assault weapons and large capacity magazines have

come to present an “immitigable public safety threat” for communities and law enforcement. Id. ¶

41. They enable scores of bullets to be fired in seconds, but the impact of those rounds devastates

communities for years afterward.




1
 For example, the shooter in Uvalde, Texas who massacred elementary school children and staff
in May 2022 “bought two AR-15 weapons less than a week before he committed a mass shooting.
Without any training, and after owning the weapon only one week, he fatally shot 19 students and
2 teachers, and wounded 17 others.” Ex. 5, Andrew Decl. ¶ 42.

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         On July 4, 2022, a single shooter equipped with an assault weapon and large capacity

magazines rained gunfire down on an Independence Day parade in Highland Park, Illinois—

killing 7 people and wounding 48 more. The rapid rate of fire enabled by his assault weapon and

the volume of rounds enabled by his large capacity magazines meant the shooter was able to fire

approximately 83 rounds in less than 60 seconds. Ex. 2, Morgan Decl. ¶¶ 19–20. Concealed on a

rooftop where he could take aim and utilize the weapon’s extended range, the shooter was able to

evade apprehension on site. When his minute-long rampage was done, he left the scene. Id. ¶ 21.

         Alarm quickly spread across Illinois while the shooter remained at large. See Ex. 1-A.2

Morton Grove, Skokie, Glenview, Lincolnshire, Glencoe, and Mount Prospect canceled their July

4th parades. Ex. 1-B. Northbrook, Winnetka, Waukegan, Vernon Hills, Buffalo Grove,

Libertyville, St. Charles, and Huntley canceled fireworks. Id.; Ex. 1-D. Evanston and Lake Forest

closed beaches. Ex. 1-B. Arlington Heights, Elgin, Deerfield, Downers Grove, Wilmette,

Lombard, Oak Park, Elk Grove, Itasca, Rolling Meadows, Long Grove, Niles, Northfield, and

Palatine also cancelled holiday events. Ex. 1-A; Ex. 1-C. While civilians sheltered in their homes,

massive numbers of local, state, and federal law enforcement officers mobilized to find the shooter.

Ex. 1-D. Dozens of medical workers manned the emergency room late in the day in case the killer

shot more people. Ex. 1-E. In all, because a single person was on the loose with an assault weapon,

dozens of law enforcement officers and medical workers were deployed, communities all over

northern Illinois cancelled holiday celebrations, and thousands of Illinois residents could not leave

their homes.

         When the suspect was apprehended after approximately 8 hours, Ex. 2, Morgan Decl. ¶ 21,

attention returned to the horror that had been inflicted that morning. Seven people lay dead. Id.


2
    Exhibit 1 is a compilation of newspaper articles cited in this memorandum of law.

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¶ 19. A bloodstained toddler, found underneath the body of a dying man, had been orphaned. Ex.

1-F. Forty-eight people had been injured. Ex. 2, Morgan Decl. ¶ 19. A mother who had been shot

in the foot and leg had to have two surgeries before she could be reunited with her 8-year-old

son—who lay in critical condition with a gunshot wound. Ex. 1-H. Dozens more had been

traumatized and “will never forget the bloodshed, carnage, and chaos” they witnessed that day.

Ex. 2, Morgan Decl. ¶ 12. The parade was supposed to have been a procession of Cub Scouts,

musicians, day campers, and “emissaries from every other kind of group that makes a community

feel close-knit and secure”—in a town where there had not been a single murder from 2000 to

2020. Ex. 1-J. Instead, hospitals were flooded with patients from 8 to 85 years old. Ex. 1-K.

       Attention next turned to solutions. Highland Park had banned sales of assault weapons and

large capacity magazines since 2013, Ex. 2, Morgan Decl. ¶ 26, but the shooter’s assault weapons

had been purchased elsewhere in Illinois, id. ¶ 22. Eight other states restricted access to assault

weapons, large capacity magazines, or both, but not Illinois. Id. ¶ 28. The shooting brought

renewed urgency to enact legislation in Illinois when the General Assembly reconvened. On

December 1, 2022, the representative whose district includes Highland Park and surrounding

communities introduced House Bill 5855, which built on elements from another pending bill,

House Bill 5522. Id. ¶ 30. Later that month, the legislature convened three public hearings to hear

testimony about the proposed assault weapon and large capacity magazine restrictions reflected in

the proposed bills. Id. ¶¶ 31-32; see also Ex. 1-L. In one hearing, legislators heard an audio

recording from the parade “that began with a high-pitched cry from a child with not enough air to

take a breath,” followed by a child “scream[ing] in exasperation and fear” because of the chaos of

the shooting. Ex. 1-M. A mother who attended the parade with her 6-year-old testified that the

trauma of witnessing the events that day had caused her son to wet the bed for months after. Id. In



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addition to “gut-wrenching testimony” from survivors of the Highland Park massacre, the House

Committee heard testimony from community members across Illinois who supported—and

opposed—the proposed restrictions. Ex. 2, Morgan Decl. ¶¶ 31-32. Following the public hearings,

in January 2023, the Illinois General Assembly passed the law at issue in this case as House Bill

5471. Id. ¶ 33.

       On January 10, 2023, the Governor signed the Protect Illinois Communities Act into

law. The Act prohibits the sale, purchase, manufacture, delivery, or importation of “assault

weapon[s]” and “large capacity ammunition feeding device[s]” (i.e., large capacity magazines)3 in

Illinois subject to certain exceptions for law enforcement, members of the military, and other

professionals with similar firearms training and experience. See generally 720 ILCS 5/24-1.9

(new) & 1.10 (new).4 Individuals who lawfully possessed assault weapons and large capacity

magazines covered by the Act as of the effective date can continue to possess them. Id. §§ 1.9(c)-

(d) & 1.10(c)-(d). By January 1, 2024, to continue lawfully possessing an assault weapon, an

individual must submit to the Illinois State Police (“ISP”) an endorsement affidavit stating:

(1) their Firearm Owner’s Identification Card number; (2) an affirmation that they possessed the

assault weapon(s) prior to January 10, 2023; and (3) the make, model, caliber, and serial number

of the assault weapon(s) that they possess. Id. This registration requirement does not extend to

large capacity magazines; individuals who lawfully possessed large capacity magazines (over 15



3
  The Act uses the defined term “large capacity ammunition feeding devices” to refer to large
capacity magazines. In this filing, “large capacity magazines” is used to refer to magazines that
fall within the definition of “large capacity ammunition feeding devices” under the Act. See 720
ILCS 5/24-10(a) (new).
4
 As ordered by the Court on February 23, 2023, in the attachments to Exhibit 3, ISP provides
compilations of images of firearms and magazines regulated by the Act. See Barnett ECF 27;
Harrel ECF 24; Langley ECF 17 (instructing the State to “provide illustrative examples” of items
covered by the Act).

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rounds for handgun magazines or over 10 rounds for rifle magazines, id. § 1.10(a)) as of the Act’s

effective date can continue to possess them without registering, id. § 1.10(d).

       Beginning April 10, 2023, the Act delineates specific locations where lawful owners of

assault weapons and large capacity magazines may continue to possess them: (1) on private

property they own or control (e.g., at home); (2) on private property not open to the public and

with the owner’s permission; (3) while on the premises of a licensed firearms dealer or gunsmith

for the purpose of repair; (4) while at a licensed firing range or sport shooting competition; or

(5) while traveling to or from these locations. Id. § 1.9(d).

       Shortly after the Act took effect, Plaintiffs sued. Within two weeks of the Act being

signed, there were four separate actions in this Court challenging the Act as allegedly violating the

Second Amendment.5 Plaintiffs in these actions comprise three distinct groups: individuals who

own assault weapons and large capacity magazines, who want to buy these items, or both

(“Individual Plaintiffs”);6 businesses who want to continue selling assault weapons and large

capacity magazines to customers beyond the groups (e.g., police and military) excepted by the Act

(“Gun Store Plaintiffs”);7 and gun rights and gun industry advocacy organizations (“Advocacy




5
 Compl., Harrel v. Raoul, No. 23-cv-141 (filed Jan. 17, 2023), ECF 1 [hereinafter Harrel Compl.];
Compl., Langley v. Kelly, No. 23-cv-192 (filed in state court Jan. 13, 2023, removed on Jan. 23,
2023), ECF 1-1 [hereinafter Langley Compl.]; Compl., Barnett v. Raoul, No. 23-cv-209 (filed Jan.
24, 2023), ECF 1 [hereinafter Barnett Compl.]; Compl., Fed. Firearms Licensees of Ill. v. Pritzker,
No. 23-cv-215 (filed Jan. 24, 2023), ECF 1 [hereinafter FFL Compl.].
6
 The Individual Plaintiffs are: Dane Harrel (Harrel); Jeremy W. Langley, Timothy B. Jones, and
Matthew Wilson (Langley); Caleb Barnett and Brian Norman (Barnett); and Debra Clark, Jasmine
Young, and Chris Moore (FFL).
7
 The Gun Store Plaintiffs are: C4 Gun Store, LLC, and Marengo Guns Inc. (Harrel); Hood’s Guns
& More and Pro Gun and Indoor Range (Barnett); and Piasa Armory (FFL). Debra Clark, an FFL
Plaintiff, also alleges she is a part owner of a licensed firearm dealer in Toledo, Illinois. FFL
Compl. ¶ 20.

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Group Plaintiffs”).8 Plaintiffs name various state officials in their official capacities as defendants,

including Attorney General Kwame Raoul, Governor JB Pritzker, and ISP Director Brendan Kelly

(“State Defendants”). Plaintiffs have filed four motions seeking a preliminary injunction

prohibiting the State Defendants from enforcing Section 1.9 and 1.10 of the Act, specifically, the

limitations on purchase and sale of assault weapons and large capacity magazines. 9

        The Act has also been challenged in state court, though none of the state court actions

allege violations of the U.S. Constitution. Most allege state constitutional claims based on the

legislative process, as well as an equal protection claim under the Illinois Constitution based on

the Act’s exceptions for members of law enforcement, the military, and other specially trained

professionals. In Accuracy Firearms, LLC v. Pritzker, No. 2023-MR-4 (Cir. Ct., 4th Jud. Cir.,

Effingham County), the circuit court initially entered a temporary restraining order, but the Fifth

District Appellate Court later reversed that order on all but the equal protection count, on which it

affirmed. 2023 IL App (5th) 230035. The State has filed a petition for leave to appeal that ruling

in the Illinois Supreme Court. Other plaintiffs in state court actions have since obtained temporary

restraining orders, limited to themselves, based on the Fifth District’s currently binding ruling in

Accuracy Firearms.

        The only court to have considered whether the Act infringes the Second Amendment ruled

that it does not. On February 17, 2023, a district court judge denied a motion for a temporary



8
  The Advocacy Group Plaintiffs are: the Illinois State Rifle Association, the Firearms Policy
Coalition, Inc., and the Second Amendment Foundation (Harrel); National Sports Shooting
Foundation, Inc. (Barnett); Federal Firearms Licensees of Illinois, Guns Save Life, Gun Owners
of America, and Gun Owners Foundation (FFL).
9
  Harrel ECF 16, Mot. for Prelim. Inj. [hereinafter Harrel Mot.]; Langley ECF 6, Mot. for Prelim.
Inj. [hereinafter Langley Mot.]; Barnett ECF 10, Mot. for Prelim. Inj. [hereinafter Barnett Mot.];
FFL ECF 28, Mot. for Prelim. Inj. [hereinafter FFL Mot.]. On February 24, the Court consolidated
the cases for the purposes of discovery and injunctive relief. Barnett ECF 32, Order ¶ 8.

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restraining order and preliminary injunction against the Act. Bevis v. City of Naperville, No. 22-

cv-4775, 2023 WL 2077392 (N.D. Ill.) (J. Kendall). Applying Bruen, the court found that the Act

is “constitutionally sound,” and the plaintiffs were unlikely to succeed on the merits of their Second

Amendment challenge. Id. at *18–30.10

                                       LEGAL STANDARD

        Preliminary injunctive relief is “an extraordinary and drastic remedy, one that should not

be granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.

Armstrong, 520 U.S. 968, 972 (1997). For this reason, a “preliminary injunction is an exercise of

a very far-reaching power, never to be indulged in except in a case clearly demanding it.” Orr v.

Shicker, 953 F.3d 490, 501 (7th Cir. 2020).

        To obtain a preliminary injunction, Plaintiffs must make a clear showing that: (1) they are

likely to succeed on the merits; (2) they are likely to suffer irreparable harm in the absence of

preliminary relief; (3) the injunction is in the public interest; and (4) the balance of equities tips in

Plaintiffs’ favor. Winter v. Natural Res. Def. Council, 555 U.S. 7, 20 (2008). The court “must

balance the competing claims of injury and must consider the effect on each party of the granting

or withholding of the requested relief,” paying “particular regard for the public consequences in

employing the extraordinary remedy of injunction.” Id. at 24.

        The movant “bears a significant burden” of making a “strong showing” that they are likely

to succeed on the merits; neither a “better than negligible” chance of success nor a “possibility of

success” is sufficient. Ill. Republican Party v. Pritzker, 973 F.3d 760, 762–63 (7th Cir. 2020). In

addition to showing a high likelihood of success on the merits, Plaintiffs must show that they will


10
  The State was not sued and was not a party when the court ruled, and therefore the State’s views
on the constitutionality of the law were not considered by the court. The Bevis plaintiffs have filed
a notice of appeal.

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“likely suffer irreparable harm” absent injunctive relief, which requires “more than a mere

possibility of harm.” Orr, 953 F.3d at 502. Plaintiffs who are less likely to win on the merits must

make a stronger showing on the balancing of harms. GEFT Outdoors, LLC v. City of Westfield,

922 F.3d 357, 364 (7th Cir. 2019).

                                           ARGUMENT

     I.   Plaintiffs’ claims are unlikely to succeed on the merits.

          Plaintiffs are unlikely to succeed on their claims, which all derive from the Second

Amendment. See Barnett Compl. ¶¶ 67–92; FFL Compl. ¶¶ 32–42; Harrel Compl. ¶¶ 89–99;

Langley Compl. at 3–8.11 Plaintiffs are not likely to succeed on the merits because they cannot

show that the “the Second Amendment’s plain text covers” the weapons and accessories Plaintiffs

seek to purchase and sell. Bruen, 142 S. Ct. at 2129–30. They are also unlikely to succeed on the

merits because the Act “is consistent with the Nation’s historical tradition of firearm regulation.”

Id.

             A. The legal framework for Second Amendment claims.

          The Second Amendment protects “the right of the people to keep and bear Arms.” U.S.

Const. amend. II. In 2008, the Supreme Court held for the first time that this text protects “an

individual right” that is “unconnected to militia service.” Heller, 554 U.S. at 599, 608. Heller has

been followed by two other decisions that discuss this right—McDonald v. City of Chicago in 2010

and Bruen in 2022. In all three cases, the Supreme Court emphasized that “individual self-defense”




11
  The Langley plaintiffs plead additional claims but asked to stay response to and briefing of them.
On February 24, 2023, the court stayed them. Barnett ECF 32 at 3 n.1. Thus, only the Second
Amendment claims (as applied against the State through the Fourteenth Amendment) form the
basis for the pending motions.

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is “the ‘central component’ of the Second Amendment right.” Bruen, 142 S. Ct. at 2133 (quoting

McDonald, 561 U.S. 742, 767, quoting Heller, 554 U.S. at 599).

       When the Heller court recognized this right, it made clear that the right is “not unlimited.”

554 U.S. at 626. The Second Amendment does not confer “a right to keep and carry any weapon

whatsoever in any manner whatsoever and for whatever purpose.” Id. The right “extends only to

certain types of weapons.” Id. at 623. For example, “weapons that are most useful in military

service—M-16 rifles and the like—may be banned.” Id. at 627. That is because the amendment

protects only “instruments that facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132. States

may prohibit “the carrying of ‘dangerous and unusual weapons[.]’” Id. at 2128.

       In Bruen, the Supreme Court also clarified the text-and-history framework appropriate for

analyzing whether the right recognized in Heller has been violated. Before Bruen, many federal

appellate courts applied a two-step framework for evaluating challenges to firearms regulations.

First, courts considered text and history, evaluating whether “the challenged law regulates activity

falling outside the scope of the right as originally understood.” Id. at 2126 (cleaned up). Second,

courts applied means-end scrutiny, applying intermediate or strict scrutiny depending upon the

severity of the law’s burden upon the core Second Amendment right of self-defense. Id.

       Bruen eliminated the means-end scrutiny framework and clarified that the appropriate legal

standard is rooted in text and history. 142 S. Ct. at 2129–30. Specifically, the Court set forth a

different two-step inquiry:

       When the Second Amendment’s plain text covers an individual’s conduct, the
       Constitution presumptively protects that conduct. The government must then justify
       its regulation by demonstrating that it is consistent with the Nation’s historical
       tradition of firearm regulation.

Id. In other words, as Plaintiffs themselves acknowledge, they bear the burden to show that “the

Second Amendment’s plain text covers [their proposed] conduct” and thus “presumptively protects

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that conduct.” Id.; see also id. at 2141 n.11 (“[B]ecause the Second Amendment’s bare text covers

petitioners’ public carry, the respondents here shoulder the burden of demonstrating that New

York’s proper-cause requirement is consistent with the Second Amendment’s text and historical

scope.”) (emphasis added); Baird v. Bonta, No. 19-cv-617, 2022 WL 17542432, at *6 (E.D. Cal.

Dec. 8, 2022) (analyzing which party bears the burden of proof and concluding plaintiffs initially

“must show they are likely to prove ‘the Second Amendment’s plain text covers’ conduct regulated

by” the law challenged before the state must justify its regulation). If the plaintiffs meet their

burden, the government must then show that the challenged regulation aligns with historical

tradition, Bruen, 142 S. Ct. at 2129–30, either by identifying historical regulations that are

“distinctly similar” to the challenged regulation, id. at 2131, or by demonstrating that the

challenged regulation is analogous to historical regulations, id. at 2132.

       Contrary to Plaintiffs’ assertions, Bruen did not wipe out every appellate court and district

court ruling on the Second Amendment. Courts have not always relied on means-end analysis to

reject claims, and those decisions remain relevant. For example, in Hollis v. Lynch, 827 F.3d 436,

446–47 (5th Cir. 2016), the Fifth Circuit found machine guns are not covered by the text of the

Second Amendment. Similarly, in Kolbe v. Hogan, 849 F.3d 114, 121 (4th Cir. 2017), the Fourth

Circuit upheld a ban on assault weapons by applying Heller to conclude that the prohibited

weapons were among those arms not protected by the text of the Second Amendment. 12 The result

in Kolbe was not an outlier. Prior to Bruen, at least seven federal appellate courts upheld



12
   Although the Supreme Court in Bruen abrogated the portion of Kolbe that applied intermediate
scrutiny, the Kolbe court’s decision also rested on the entirely independent ground that assault
weapons and large capacity magazines are excluded from the text of the Second Amendment.
Kolbe, 829 F.3d at 121 (explaining that the court merely found it “prudent” to also conduct
intermediate scrutiny analysis). The independently dispositive text-based ruling in Kolbe is
consistent with Bruen’s first step and remains good law.

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restrictions on assault weapons and/or large capacity magazines. Kolbe, 849 F.3d at 130, 140;

Duncan v. Bonta, 19 F.4th 1087, 1096 (9th Cir. 2021) (en banc); Worman v. Healey, 922 F.3d 26,

30, 40 (1st Cir. 2019); Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. N.J., 910 F.3d 106, 122

(3d Cir. 2018) (“ANJRPC”); N.Y. State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 263–64

(2d Cir. 2015); Heller v. District of Columbia (“Heller II”), 670 F.3d 1244, 1264 (D.C. Cir. 2011);

Friedman v. City of Highland Park, 784 F.3d 406, 412 (7th Cir. 2015); Wilson v. Cook Cnty., 937

F.3d 1028, 1032–33 (7th Cir. 2019). Many of these decisions used a means-end scrutiny later

criticized in Bruen, while the Seventh Circuit used a different framework.

       Twice—in 2015 and again in 2019—the Seventh Circuit upheld local ordinances in Illinois

that banned the sale and possession of assault weapons and large capacity magazines. 13 Friedman,

784 F.3d 406; Wilson, 937 F.3d 1028. Friedman discussed three factors: (i) history—“whether a

regulation bans weapons that were common at the time of ratification,” 784 F.3d at 410; (ii) militia

use—whether a regulation bans “those [weapons] that have ‘some reasonable relationship to the

preservation or efficiency of a well regulated militia,’” id. (quoting Heller, 554 U.S. at 622–25;

United States v. Miller, 307 U.S. 174, 178–79 (1939)); and (iii) burden on self-defense—“whether

law-abiding citizens retain adequate means of self-defense.” Id. After finding “no definitive

constitutional rule” invalidating the regulation at issue, Friedman concluded “the political process”

was the appropriate forum for “evaluat[ing] the relation among assault weapons, crime, and self-

defense,” because “[t]he central role of representative democracy is no less part of the Constitution


13
    Similar to the Act, the ordinances challenged in Friedman and Wilson adopted a two-fold
definition of assault weapons: identifying specific weapons by name (e.g., AR-15 and AK-47
rifles) and also listing features that, individually or in combination, made specific firearms “assault
weapons” within the meaning of the ordinances. See Friedman, 784 F.3d at 407 (describing
ordinance); Wilson, 937 F.3d at 1029 (same). The ordinances in Friedman and Wilson defined
large capacity magazines as those that can accept more than 10 rounds. Friedman, 784 F.3d at 407
(describing ordinance); Wilson, 937 F.3d at 1029 (same).

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than is the Second Amendment[.]” Id. at 412. In Wilson, plaintiffs asked the Seventh Circuit to

overrule Friedman in favor of “a test that tracks more closely the language” in Heller and a 2011

Seventh Circuit decision, Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011). 937 F.3d at 1031,

1034. The Wilson court refused and again rejected a Second Amendment challenge to a ban on the

sale or possession of assault weapons and large capacity magazines. Id. at 1036.

       In sum, after Heller recognized an individual right to keep and bear arms, seven federal

appellate courts upheld assault weapons and/or large capacity magazine restrictions when faced

with Second Amendment challenges. The Seventh Circuit has rejected challenges to these types

of laws twice in the past decade. While Bruen clarified the analytical framework courts should be

using, it did not say the ultimate conclusions of those courts were wrong. They were not. See

Bruen, 142 S. Ct. at 2162 (Kavanaugh, J., concurring) (“[N]othing . . . should be taken to cast

doubt on . . . the historical tradition of prohibiting the carrying of dangerous and unusual

weapons.”). Bruen permits assault weapons and large capacity magazine restrictions like those in

the Act because they regulate weapons and accessories not commonly used for individual self-

defense. Under Bruen’s “history and tradition” step, regulations like the Act also are consistent

with our Nation’s tradition of regulating “dangerous and unusual” weapons.

           B. Plaintiffs cannot show that the Act regulates conduct protected by the text of
              the Second Amendment.

       To succeed on their Second Amendment claims, Plaintiffs must demonstrate the Act

regulates conduct protected by the amendment’s text. Plaintiffs cannot meet this burden in two

primary respects. First, the “arms” protected by the Second Amendment do not include non-

essential accessories like large capacity magazines. Firearms are fully capable of providing self-

defense with the 15- and 10-round magazines permitted by the Act. Second, assault weapons

restricted by the Act are not protected “arms” because “arms” do not include “weapons that are

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most useful in military service—M-16 rifles and the like,” Heller, 554 U.S. at 627. The Second

Amendment’s text protects only arms in common use at the time the Second or Fourteenth

Amendments were ratified, or those commonly used for individual self-defense today. Id.;

McDonald, 561 U.S. at 750. Plaintiffs cannot show the Act violates the Second Amendment

because it regulates weapons designed for war, not self-defense.

               1. Large capacity magazines are not “arms.”

       The “object” of an individual’s Second Amendment right is “arms.” Heller, 554 U.S. at

581. To satisfy Bruen’s first step, Plaintiffs must prove both that the regulated instrument, device,

or weapon fits within the category of “bearable arms,” id. at 2132, and that it is “commonly used”

for self-defense purposes, id. at 2138. Because large capacity magazines are accessories, not arms,

they fall outside the text of the Second Amendment. Plaintiffs’ challenge to the Act’s 15-round

cap on handgun magazines and 10-round cap on rifle magazines will fail at Bruen’s first step.

       The term “arms” refers to weapons and excludes related accessories like ammunition

magazines. See Heller, 554 U.S. at 581 (citing 1 Dictionary of the English Language 106 (4th ed.)

(1773 edition of dictionary defining “arms” as “[w]eapons of offence, or armour of defence”)).

Although large capacity magazines can be used alongside weapons, they are not themselves

weapons with offensive or defensive uses. Ex. 6, Busse Decl. ¶ 22 (“Magazines are containers

which hold ammunition in spring-loaded preparation for feeding into the receiver of a firearm.”);

Ex. 7, Baron Decl. ¶ 57. See Ocean State Tactical, LLC v. Rhode Island, No. 22-cv-246, 2022 WL

17721175, at *11 (D.R.I. Dec. 14, 2022) (“LCMs, like other accessories to weapons, are not used

in a way that ‘cast[s] at or strike[s] another.’”) (quoting Heller).

       This distinction was understood at the time the Bill of Rights was ratified, as demonstrated

by the common phrase “arms and accoutrements,” which clearly distinguished weapons, on the



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one hand, from items like cartridge cases, boxes, scabbards, and flints on the other. Ex. 7, Baron

Decl. ¶¶ 11–12. Such accessories are not protected by the text of the Second Amendment. See,

e.g., United States v. Cox, 906 F.3d 1170, 1186 (10th Cir. 2018) (holding that a silencer is

unprotected because it is “a firearm accessory [and] not a weapon in itself” and thus “can’t be a

‘bearable arm’ protected by the Second Amendment”); United States v. Hasson, No. GJH-19-96,

2019 WL 4573424 (D. Md. Sept. 20, 2019) (same), aff’d, 26 F.4th 610 (4th Cir. 2022).

       Although some courts have held that accessories may be protected in certain circumstances,

this ancillary right has been extended only to accessories necessary to operate firearms for self-

defense. See, e.g., Jackson v. City & Cnty. of San Francisco, 746 F.3d 953, 967 (9th Cir. 2014)

(“[T]he right to possess firearms for protection implies a corresponding right to obtain the bullets

necessary to use them.”) (cleaned up); Cox, 906 F.3d at 1196 (Hartz, J., concurring) (noting that

the Tenth Circuit’s holding that silencers are not protected arms did not extend to “items that are

not themselves bearable arms but are necessary to the operation of a firearm (think ammunition)”).

       Even under other courts’ more expansive construction, the Second Amendment’s text

excludes large capacity magazines because they are not necessary to operate firearms for any

purpose, including self-defense. All firearms that can accept a detachable large capacity magazine

can also accept a magazine that holds fewer rounds and work just as well. Ex. 6, Busse Decl. ¶ 25.

In any event, handguns, the “quintessential self-defense weapon,” Heller, 554 U.S. at 629, are

widely sold with magazines of 15 or fewer rounds (the threshold permitted by the Act), not the 30-

round magazines for AR-15s that Plaintiffs want to re-brand as “standard.” Harrel Compl. ¶ 58;

Barnett Compl. ¶¶ 76, 91; Langley Compl. at 7; see also FFL Compl. ¶ 99. See 720 ILCS 5/24-

1.10(a)(new).




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           Plaintiffs’ contention that large capacity magazines are critical for self-defense is

irreconcilable with the many highly effective handguns that have magazines compliant with the

Act’s 15-round threshold. The Beretta M9 semi-automatic pistol, which continues to be a sidearm

commonly issued by the U.S. military for self-defense, typically has a 15-round magazine. Ex. 9,

Schreiber Decl. ¶ 19. Many of the law enforcement officers patrolling neighborhoods with the

most gun violence in Illinois carry standard-duty firearms with magazines at or below the Act’s

15-round threshold. For example, handguns in the Beretta 92 series, which accept a 15-round

magazine, are approved for use as standard-duty weapons by the Chicago Police Department. 14

For officers who have joined the department since 2015, “[t]he only authorized prescribed firearm,

alternate prescribed firearm, and auxiliary firearm . . . for on-duty or off-duty use will be a striker-

fired semiautomatic pistol chambered in 9mm Luger (Parabellum).” 15 These pistols are available

with standard magazines of 15, 10, or even 7 rounds—all below the Act’s threshold for handgun

magazines. Ex. 8, Yurgealitis Decl. ¶ 92. Plaintiffs cannot seriously contend that Chicago police

officers have been left without adequate means of self-defense because they are not equipped with

magazines holding more than 15 rounds.16 Cf. Ex. 5, Andrew Decl. ¶ 61.

           Many handguns popular with civilians also have magazines below the 15-round threshold.

The Model 1911, which was the accepted defensive sidearm of the U.S. military for decades and

is still one of the most widely owned self-defense guns in the country, is built to accept a magazine

of 8 rounds or less. Ex. 6, Busse Decl. ¶ 25. The Sig P938, which is fully functional with a 7- or


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   Chicago Police Department, U04-02-01, Uniform and Property, Department Approved
Handguns and Ammunition (eff. July 21, 2021), §§ V(A), VI(A), available at
https://directives.chicagopolice.org/#directive/public/6465.
15
     Id. § II(c).
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   Notably, the Chicago Police Department prohibits officers from carrying extended magazines.
Id. § II(L).

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8-round magazine, is a widely popular handgun preferred by consumers and acclaimed by industry

experts as one of the most effective concealed carry/self-defense firearms on the market. Id. The

Sig P938’s shorter magazine is not just sufficient, but advantageous, because it makes the firearm

easier to carry, including in public in accordance with concealed carry laws. Id.; see also Ex. 8,

Yurgealitis Decl. ¶ 108. The popularity of these handguns for self-defense belies Plaintiffs’ claim

that capping magazine capacity at 15 rounds offends the Second Amendment right to self-defense.

       In an attempt to explain why 15 rounds is not enough, Plaintiffs make various assertions

about police shootings, officers’ accuracy (or alleged lack thereof), and the implications for less

well-trained civilians’ firing in self-defense. Harrel Compl. ¶¶ 72–74. They allege that 14% of

New York City police officers who fired their weapons in the line of duty in 2020 fired more than

10 rounds. Id. ¶ 72. Plaintiffs apparently believe they need more than 15 rounds to effectively

defend themselves, id., because “[a]n average citizen forced to defend herself suddenly is not likely

to have a higher accuracy rate than professional police officers would,” id. ¶ 73. Plaintiffs’

statistics prove the opposite of their intended point: if 14% of NYPD officers fired more than 10

rounds, then a super-majority (86%) fired fewer. 17 Plaintiffs do not indicate what percentage fired

more than 15 rounds. And the underlying report they cite shows that none of the officers who fired

their weapons in 2020 fired more than 20 rounds, and thus none fired the 30 rounds that Plaintiffs

describe as a standard. Harrel Compl. ¶¶ 58, 62, 64; Barnett Compl. ¶¶ 76, 91. If anything,

Plaintiffs’ assertions regarding police shootings show why large capacity magazine restrictions


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  Harrel Compl. ¶ 73 (citing New York Police Department, 2020 Use of Force Report, at 27
(“Rounds Discharged per Member in ID-AC Incidents, 2020,” available at
www1.nyc.gov/assets/nypd/downloads/pdf/use-of-force/use-of-force-2020-issued-2021-12.pdf).
At the pleadings stage, “a court may consider, in addition to the allegations set forth in the
complaint itself, documents that are attached to the complaint, documents that are central to the
complaint and are referred to in it, and information that is properly subject to judicial notice.”
Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013).

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promote public safety and order: the availability of large capacity magazines in the civilian market

puts police officers carrying a standard-duty weapon at risk of being outgunned. 18 Ex. 5, Andrew

Decl. ¶¶ 57, 60.

       The 10-round threshold for rifle magazines is equally permissible. Rifles with 10-round

magazines are fully functional for self-defense and other lawful purposes. Modern semi-automatic

rifles that are designed, manufactured, and marketed as “hunting rifles” traditionally have an

internal magazine capacity of fewer than 10 rounds depending on the caliber. Id. ¶ 91. Even for

the AR- and AK-platform rifles that are often sold with a 30-round magazine, the manufacturers

also offer an option to purchase 10-round and lower capacity magazines (sometimes called

“compliant” magazines, referring to compliance with magazine capacity limits in other

jurisdictions). Ex. 6, Busse Decl. ¶¶ 25-26; see also Ex. 8, Yurgealitis Decl. ¶ 93. A rifle does not

need a magazine holding more than 10 rounds to be used for self-defense. Ex. 6, Busse Decl. ¶ 26.

       The increased popularity of semi-automatic rifles with magazines greater than 10 rounds

is also a recent phenomenon, and this emerging trend has little to do with lawful self-defense. In

1990, there were only 43,000 “modern sporting rifles” (a gun industry euphemism for AR-15s and

similar assault rifles that are frequently sold with 30-round magazines, Ex. 4, Klarevas Decl. ¶ 13)

produced for the U.S. domestic market. Ex. 6, Busse Decl. ¶ 39 & Table, Estimated Modern

Sporting Rifles in the United States 1990–2020. In other words, despite the continued legality of

the AR-15 and other rifles sold with 30-round magazines in most states, American firearms

consumers were choosing other options for self-defense A decade later, in 2000, the domestic

production figure was 86,000. Id. It only began to steadily increase in the years after the expiration


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   The fear of being outgunned may very well have contributed to the delayed law enforcement
response at Robb Elementary School in Uvalde, Texas, where a lone, 18-year-old gunman used an
AR-15 to murder 19 children and 2 teachers. Ex. 5, Andrew Decl. ¶¶ 42, 57.

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of the federal assault weapons ban in 2004. Id. Then, between 2011 and 2013—during which the

horrific 2012 elementary school massacre in Newtown, Connecticut was perpetrated with an AR-

15 equipped with a 30-round magazine—sales tripled, increasing from 653,000 in 2011, to

1,308,000 in 2012, to 1,882,000 in 2013. Id. ¶¶ 11, 39 & Table. But a market spike driven by

anticipation of a potential ban—a fear justified by the infamy assault weapons and large capacity

magazines earned from Newtown and other mass shootings—is not evidence that either assault

weapons or the 30-round magazines they come were suddenly needed or used for self-defense.

They were not.19

       In light of these facts, it is unsurprising that the federal courts that have considered whether

large capacity magazines fall within the text of the Second Amendment since Bruen have found


19
   Plaintiffs want to direct the discussion of large capacity magazines farther back in time, before
AR-15s with 30-round magazines became the weapon of choice for mass shooters. They allege
that in the 1960s, the U.S. government sold surplus M1 carbines to civilians as the military
transitioned to the M-16, and that the M1 carbine had 15- and 30-round magazines. Barnett Compl.
¶¶ 26, 76, 91; FFL Compl. ¶ 77; Langley Compl. at 6, 9. This fact is irrelevant for multiple reasons.
First, these same M1 carbines can accept 10-round magazines that would be compliant with the
Act. See Ex. 6, Busse Decl. ¶ 25. Moving from a 15-round magazine to a 10-round magazine does
not make the weapon inadequate for self-defense or otherwise ineffective. Another M1 rifle from
that era, the M1 Garand (also permitted under the Act), had an 8-round standard internal magazine,
and it was the weapon American infantrymen used to liberate Europe during World War II. Ex. 8,
Yurgealitis Decl. ¶ 94. Second, the 200,000 or so M1 carbines sold to civilians in the 1960s provide
no evidence as to whether those particular rifles were in common use for self-defense—then or
today. Notably, none of the Plaintiffs allege they own an M1 carbine, nor do any of the Plaintiffs
claim to want to purchase one of the surplus M1 carbines that the government sold in the 1960s.
Only one Individual Plaintiff, Mr. Harrel, conveniently claims to want to purchase a modern
derivative of the M1 carbine, a Springfield Armory M1A, that is now prohibited under the Act
(unlike its predecessor). Harrel ECF 16-1, Harrel Decl. ¶ 5. But Mr. Harrel provides no detail as
to when this desire arose in the week between when the Act was signed and the day he filed suit,
whether the emergence of his desire postdated his being recruited as a plaintiff, whether he already
owns an M1 of any variety, or whether in a self-defense situation he would opt for an M1 carbine
over one of the other semiautomatic firearms he already owns. Id. ¶ 4. If Mr. Harrel or any of the
Plaintiffs want injunctive relief specific to a particular weapon, Article III standing jurisprudence
requires more. See City of Los Angeles v. Lyons, 461 U.S. 95 (1983) (holding that Section 1983
plaintiffs must make particularized allegations to establish standing to seek the specific injunctive
relief requested); Simic v. City of Chicago, 851 F.3d 734, 738 (7th Cir. 2017).

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that they do not. See Oregon Firearms Fed’n, Inc. v. Brown, No. 22-cv-1815, 2022 WL 17454829

(D. Or. Dec. 6, 2022) (refusing to enjoin large capacity magazine ban); Ocean State Tactical, 2022

WL 17721175 (same). Because the large capacity magazines regulated by the Act are not “arms”

within the original meaning of the Second Amendment, Plaintiffs’ challenge to those regulations

will fail.

                  2. Neither large capacity magazines nor assault weapons were in common use
                     when the Second and Fourteenth Amendments were ratified.

        The Second Amendment protects “the sorts of weapons . . . ‘in common use at the time’”

the Bill of Rights was ratified in 1791. Heller, 554 U.S. at 627 (quoting Miller, 307 U.S. at 179).

In McDonald v. City of Chicago, 561 U.S. 742 (2010), the Court held the Second Amendment is

applicable to the states through the Fourteenth Amendment. As a result, how the right was

understood in 1868, when the Fourteenth Amendment was ratified, is also relevant. Ezell, 651 F.3d

at 702 (“McDonald confirms that if the claim concerns a state or local law, the ‘scope’ question

asks how the right was publicly understood when the Fourteenth Amendment was proposed and

ratified.”). See also United States v. Greeno, 679 F.3d 510, 518 (6th Cir. 2012) (following Ezell);

Gould v. Morgan, 907 F.3d 659, 669 (1st Cir. 2018) (“Because the challenge here is directed at a

state law, the pertinent point in time would be 1868 (when the Fourteenth Amendment was

ratified).”). Cf. Bruen, 142 S. Ct. at 2138 (declining to decide whether 1791 or 1868 is more useful

to consider because the understanding of the right in both years was “the same with respect to

public carry”).

        Plaintiffs have no evidence that the assault weapons and large capacity magazines

restricted by the Act were in common use in either 1791 or 1868—they were not. Reliable multi-

shot firearms did not appear in any appreciable numbers until after 1868. Even those weapons, the




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Colt revolver and the Winchester repeating rifle, could not come remotely close to the rate of fire

and rapid reloadability of modern assault weapons paired with large capacity magazines.

       The firearms owned in the Founding Era generally could only shoot a single shot before

reloading. Approximately 50% to 60% of households in the Colonial and Founding Eras owned a

working firearm, usually a musket or a fowling piece. Ex. 10, Roth Decl. ¶ 15. Both were muzzle-

loading. Id. Muskets were larger, single-shot firearms used for militia service. Id. Loading a

musket required the musket ball to be manually inserted into the open end of the gun barrel and

ramrodded into position. Fowling pieces were made to hunt birds and control vermin, using shot

as ammunition instead of a ball. Id. With the exception of a few double-barreled pistols, neither

muskets nor fowling pieces could fire multiple shots without reloading. Id. ¶ 16. Reloading was a

time-consuming process that typically required at least half a minute. Id. Most owners stored guns

empty because the black powder necessary to operate a musket or fowling piece absorbed moisture

and could corrode the barrel or firing mechanism or make the gun vulnerable to misfire. Id.

       Single-shot, muzzle-loading firearms remained the standard infantry weapon up to and

including the Civil War. Ex. 11, Spitzer Decl. ¶ 44. Even as firearms technology advanced to

improve the reliability of multi-shot weapons, adoption of these weapons was slow. The first

practical firearm that could shoot more than one bullet without reloading was a handgun designed

by Samuel Colt in the 1830s with a revolving cylinder carrying multiple rounds (a “revolver”). Id.

¶ 45. But Colt struggled to find a market for his revolver, either from the government or the public.

Id. The U.S. government repeatedly rejected the weapon after tests in 1836, 1837, 1840, and 1850,

driving Colt to bankruptcy at one point. Id. The official sidearm of the U.S. Army in the Civil War

remained a single-shot pistol. Id. It was only after the Civil War that the Colt-type revolver began

to broadly proliferate in American society. Id.; accord Caetano v. Massachusetts, 577 U.S. 411,



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416 (“Revolvers were virtually unknown well into the 19th century, and semiautomatic pistols

were not invented until near the end of that century.”) (Alito, J., concurring). Even so, the vast

majority of revolvers produced in the nineteenth century held 7 or fewer rounds. Ex. 12, Delay

Decl. ¶ 53. Reloading a revolver (then and now) required the cylinder to be unlocked from the gun

frame and swung out so the user could remove expended casings and insert unfired rounds. Id. ¶

54; Ex. 8, Yurgealitis Decl. ¶ 9.

       Reliable rifles capable of firing more than one round did not appear in significant numbers

until after the Civil War, and even then there were significant limitations compared to modern

assault weapons. Benjamin Henry patented a rifle that could fire multiple rounds without reloading

(through the use of a lever action) in 1860. Ex. 11, Spitzer Decl. ¶ 46. The Winchester Arms

Company built on this design to introduce a repeating rifle in 1866 that could fire up to 16 rounds

(1 in the chamber plus 15 in an attached, tubular magazine) without reloading. Ex. 12, Delay Decl.

¶ 58. It was not, however, a semiautomatic rifle; the shooter had to manipulate a lever in a forward-

and-back motion before each shot. Ex. 11, Spitzer Decl. ¶ 46. Reloading a lever-action Winchester

rifle was also significantly slower than changing the magazine on a modern firearm. The user had

to manually reload the rifle one round at a time. Id.; Ex. 12, Delay Decl. ¶ 64. Although

undoubtedly an innovation, the Winchester repeating rifle is a gun “whose legendary status wildly

outdistanced its actual production and impact.” Ex. 11, Spitzer Decl. ¶ 46. In reality, between 1861

and 1871—the decade spanning the Civil War and the ratification of the Fourteenth Amendment—

there were 31 to 38 million Americans but only 74,000 repeating rifles produced in the aggregate

by the Henry and Winchester companies.20 Id.; Ex. 12, Delay Decl. ¶ 59.



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  Just prior to the production of these Winchesters, the population of the United States was
31,443,321. U.S. Census Bureau, “1860 Fast Facts,” https://bit.ly/3Z4TLgL (last visited Feb. 27,
2023). By 1871, the population had risen to 38,558,371. U.S. Census Bureau, “1870 Fast Facts,”
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       Practically speaking, these were the only firearms in circulation at the time the Fourteenth

Amendment was ratified in 1868 that could fire more than 10 rounds without reloading. 21 Ex. 12,

Delay Decl. ¶ 58. And there were not many of them compared to other types of firearms. As one

prominent historian put it: “Rifles holding more than 10 rounds made up a tiny fraction of all

firearms in the United States during Reconstruction.” Ex. 11, Spitzer Decl. ¶ 46 (quoting historian

Michael Vorenberg). One estimate puts this figure at 0.002% of all firearms in the United States

by 1872. Ex. 12, Delay Decl. ¶ 60. In other words, firearms with magazines or magazine capacities

like those restricted by the Act were not in “common use” in either 1791 or 1868. Heller, 554 U.S.

at 627 (quoting Miller, 307 U.S. at 179).

       Plaintiffs elide this fact and offer misleading allegations that “firearms capable of firing

more than ten rounds without reloading have existed at least since the late 16th century.” Harrel

Compl. ¶ 67; accord Barnett Compl. ¶ 21. They further allege that the English military was

“employing magazine-fed firearms as early as 1658.” Harrel Compl. ¶ 68. But none of this shows

these firearms were commonly owned (and certainly not in “common use” for self-defense) at any

point prior to 1791. Limited or experimental use is not “common use,” and the former is all

Plaintiffs can allege. As one of Defendants’ experts, Professor Brian Delay, a historian from the

University of California-Berkeley, lays out in detail in his declaration, the multi-shot weapons

Plaintiffs reference:

       were flawed, experimental curiosities prior to the founding of the United States.
       They were both dangerous (to the shooter, as well as to the target) and highly
       unusual. Most of these weapons never advanced beyond proof of concept. Only a
       small minority of large-capacity firearm inventions ever moved past the design or

https://bit.ly/41xeP16 (last visited Feb. 27, 2023).
21
   Lever-action repeating rifles like the Winchester 1873 are not restricted by the Act. The Act
defines “assault weapon” to not include a “firearm that is manually operated by bolt, pump, lever
or slide action, unless the firearm is a shotgun with a revolving cylinder.” 720 ILCS 5/24-
1.9(a)(2)(C) (new).

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       prototype stage, and none achieved commercial success or military relevance prior
       to 1791.

Ex. 12, Delay Decl. ¶ 8. That is why Plaintiffs point to no evidence of these weapons—which

would have been game-changing battlefield innovations in the frequently fought-over regions of

18th and 19th century Europe and North America if they were actually reliable—achieving

widespread adoption in either a military or civilian setting. Id. ¶¶ 8–10. If George Washington,22

Napoleon Bonaparte, or Ulysses S. Grant never found use for these “exotic curios” amid their

bloody conflicts, then it is hard—indeed, impossible—to conclude they were in “common use”

among civilians before 1791 or even 1868. See id. ¶ 31.

               3. The Act restricts weapons and accessories not commonly used for self-
                  defense today.

       The Act restricts weapons and accessories that are not commonly used by Americans for

self-defense today. As explained supra, large capacity magazines provide a round-capacity in

excess of what is necessary for self-defense. Assault weapons similarly enable a degree of lethality

appropriate for the battlefield, but unnecessary for individual self-defense. Because assault

weapons are not commonly used for the purpose of self-defense, they are not “arms” protected by

the Second Amendment. McDonald, 561 U.S. at 749–50; Bruen, 142 S. Ct. at 2134.

       In Heller, the Supreme Court made clear that the Second Amendment should be interpreted

to extend beyond weapons in common use in the past to protect arms commonly used today for


22
   Plaintiffs note that “[i]n 1777, Joseph Belton demonstrated a repeating rifle that could hold 16
rounds of ammunition to members of the Continental Congress.” Harrel Compl. ¶ 69. But
demonstration is not adoption and certainly not “common use.” The Continental Congress ordered
a total of 100 of Belton’s weapons, only to cancel the order days later and never revisit it. See Ex.
12, Delay Decl. ¶¶ 21–22. Multi-shot firearms were no more in common use at the Founding than
personal jetpacks are today. Although jetpacks have long piqued the interest of militaries and
private consumers—a design was even patented in 1919—they remain an “expensive and
experimental curiosity to this day.” See id. ¶ 46. The same could have been said about multi-shot
firearms in 1791. See id. ¶ 45.

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“self-defense in the home.” Heller, 554 U.S. at 636. The Supreme Court has reaffirmed in cases

since that the individual right to bear arms protects arms commonly used today for the purpose of

self-defense. See Bruen, 142 S. Ct. at 2143 (“Whatever the likelihood that handguns were

considered ‘dangerous and unusual’ during the colonial period, they are indisputably in ‘common

use’ for self defense today.”) (citation omitted); McDonald, 561 U.S. at 749–50 (“the Second

Amendment protects the right to keep and bear arms for the purpose of self-defense”).

       Meanwhile, the Supreme Court’s decisions have consistently recognized that individuals’

self-defense rights can coexist with prohibitions on specific types of weapons. For example, in

Heller, the court observed that the National Firearms Act of 1934 permissibly restricted machine

guns because at the time they were not commonly being used by civilians for self-defense. 554

U.S. at 624–25. And the Court emphasized that today “weapons that are most useful in military

service—M-16 rifles and the like—may be banned.” Id. at 627.

       The assault weapons restricted by the Act are not protected by the Second Amendment

because, like M-16 rifles, they are “most useful in military service,” not civilian self-defense.

Heller, 554 U.S. at 627.

                   a. The restricted weapons are for war—not individual self-defense.

       According to Plaintiffs, the largest number of firearms impacted by the Act are likely AR-

15 rifles. In an effort to meet their burden under Bruen’s first step, Plaintiffs each cite various

statistics about ownership of AR-15s, which they claim show “common use” for self-defense.

Harrel Compl. ¶¶ 35–36; Barnett Compl. ¶¶ 29–31; FFL Compl. ¶¶ 79–81; Langley Compl. at 7,

9. Many of the Individual Plaintiffs are seeking to enjoin the Act because they own “AR platform”

weapons, want to buy more “AR” weapons, or both.23 Like the other assault weapons covered by


23
  Barnett ECF 10-2, Norman Decl. ¶¶ 5–7 (owns 4 “semiautomatic rifles on the AR platform,”
“20 AR magazines capable of accepting 30 rounds of ammunition,” and “would like to purchase
                                                27
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the Act,24 AR-15 rifles were designed and built for soldiers on the battlefield; they have no place

in American communities.

       The AR-15 models in circulation today trace their origin to a rifle designed by the ArmaLite

(the “A” in “AR”) Corporation in 1956.25 Ex. 8, Yurgealitis Decl. ¶¶ 58-60; Ex. 5, Andrew Decl.

¶ 25; Ex. 10, Roth Decl. ¶ 49 n.112. Responding to the capabilities of the Soviet-designed

Kalashnikov rifle that first appeared in 1947, the AK-47, ArmaLite’s design closely followed what

was emerging as standard assault rifle design in the post-World War II era: light-weight

construction using aluminum where possible in lieu of machined steel; separate pistol grip and

shoulder stock; a foregrip and/or barrel shroud; a detachable magazine; and flash hider or muzzle

brake variations. Ex. 10, Roth Decl. ¶ 49; Ex. 8, Yurgealitis Decl. ¶¶ 52-53, 58-60; compare 720

ILCS 5/24-1.9(a)(1)(A)(new). In 1961, the U.S. Department of Defense purchased 1,000 AR-15

rifles. Ex. 8, Yurgealitis Decl. ¶¶ 59-60; Ex. 5, Andrew Decl. ¶ 25; Ex. 10, Roth Decl. ¶ 49 n.112.

The U.S. Army subsequently shipped them to Vietnam that same year for testing during live

combat. Ex. 5, Andrew Decl. ¶¶ 25–26; Ex. 8, Yurgealitis Decl. ¶ 59.




more firearms on the AR platforms”); Barnett ECF 10-1, Barnett Decl. ¶¶ 3, 5 (currently owns
“ARs and AK-47s” and “would like to purchase at least one more AR platform rifle”); FFL Compl.
¶ 20 (Plaintiff Debra Clark is “intent on purchasing additional AR-15 rifles”); FFL ECF 29-3,
Moore Decl. ¶ 6 (would like his wife “to be able to use the AR-15 for the self defense of her
family” but because of the Act “will not be able to provide my wife with the firearms I believe are
best suited to her needs”); FFL ECF 29-2, Young Decl. ¶ 6 (“would like to purchase an AR-15 . .
. [and] would use the AR-15” in shooting competitions).
24
  Like the AR-15, the other specific models of assault weapons in the Act are also generally of
military origin. Many were designed to mimic and build upon features from the German StG 44,
considered the first “assault weapon” or “assault rifle,” which appeared in production late in World
War II. Ex. 8, Yurgealitis Decl. ¶¶ 40-60.
25
  As a reference point, the U.S. military tested the first hydrogen bomb, the thermonuclear
warhead that would loom large over much of the Cold War era, in 1952—four years before the
AR-15 first appeared. Ex. 10, Roth Decl. ¶ 49 n.112.

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       A declassified field test report prepared by the Department of Defense in 1962 detailed just

how lethally potent the AR-15 proved as a weapon of war. Ex. 5, Andrew Decl., Ex. B. Describing

the wounds to 5 dead Viet Cong soldiers shot by AR-15 rounds, the report noted in grisly detail:

          One sustained a “[b]ack wound, which caused the thoracic cavity to explode”;

          Another sustained a “[s]tomach wound, which caused the thoracic cavity to explode”;

          A third sustained a “[b]uttock wound, which destroyed all tissue of both buttocks”;

          A fourth sustained a “[c]hest wound” that “destroyed the thoracic cavity”;

          The fifth sustained a “[h]eel wound” in which “the projectile entered the bottom of the
           right foot causing the leg to split from the foot to the hip.”

Id. ¶ 27 (quoting Ex. B). All of the deaths “were instantaneous except the buttock wound. He lived

approximately five minutes.” Id.; see also id. ¶¶ 28–32. The “phenomenal lethality” of the AR-15

described in the field report led the U.S. Army to adopt it as a combat rifle in December 1963. Id.

¶ 32; Ex. 8, Yurgealitis Decl. ¶ 60. As part of its adoption, the Army gave the AR-15 a new name:

the M-16—the weapon name-checked by the Heller court as the type of weapon that can be banned

for civilian use. Ex. 8, Yurgealitis Decl. ¶ 59; Heller, 128 S. Ct. at 2816.

       The features that made the AR-15 phenomenally lethal in the jungles of Vietnam make it

equally lethal in in our Nation’s classrooms and communities. The killing capacity of a firearm is

primarily determined by the kinetic energy imparted by the bullet, its effective range, and the rate

at which the weapon fires projectiles. Ex. 9, Schreiber Decl. ¶ 20; Ex. 13, Hargarten Decl. ¶ 13.

The amount of energy a bullet transfers into a victim is a function of the bullet’s velocity and mass.

Ex. 13, Hargarten Decl. ¶ 13; accord Ex. 9, Schreiber Decl. ¶ 20. The muzzle velocity of an AR-

15 with standard ammunition, when first adopted by the U.S. military and now, is approximately

3200 feet per second—nearly three times the speed of sound. Ex. 8, Yurgealitis Decl. ¶ 61; Ex. 9,

Schreiber Decl. ¶ 21; Ex. 13, Hargarten Decl. ¶¶ 13–15, 31–32; Ex. 5, Andrew Decl. ¶ 34. By


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contrast, a 9-millimeter Beretta (like those commonly carried by law enforcement officers) has a

muzzle velocity of around 1100 to 1200 feet per second. Ex. 9, Schreiber Decl. ¶ 21; Ex. 8,

Yurgealitis Decl. ¶ 60; see also Ex. 13, Hargarten Decl., Ex. B (using gelatin tests to assess energy

transfer and impact of AR-15 rounds compared to .25, .32, and .40 caliber handgun rounds). This

nearly three-fold difference in velocity means that the kinetic energy generated by the impact of

an AR-15 round is 1303 foot pounds, compared to 400 foot pounds for a 9-millimeter Beretta. Ex.

9, Schreiber Decl. ¶ 22.

       The massive amount of energy delivered by each AR-15 round is what caused the “thoracic

cavit[ies]” of multiple Viet Cong soldiers “to explode” as described in the U.S. military’s 1962

field report. Ex. 5, Andrew Decl. ¶¶ 27, 30; Ex. 9, Schreiber Decl. ¶¶ 22, 35 (“Inside a human

body, one assault weapon round can destroy organs in a way that looks like an explosion has

happened.”). The AR-15’s immense capacity to inflict catastrophic injury is equally evident today

in combat hospitals, emergency rooms, and laboratory settings. Ex. 9, Schreiber Decl. ¶ 33 (“The

assault weapon wounds that I have seen in a civilian context are virtually identical in nature to the

wounds that I saw in combat.”) A bullet entering the human body creates a temporary and,

eventually, permanent cavity; holding all else equal, the larger the cavity, the more severe the

injury. Id. ¶ 23. Because of their mass, velocity, and resulting kinetic energy, AR-15 rounds

produce larger cavities in the human body, with devastating effects to tissue and surrounding

organs. Id. ¶ 24; Ex. 13, Hargarten Decl. ¶¶ 23–30 & Ex. B. Laboratory tests confirm that a

common 5.56-millimeter AR-15 round inflicts temporary cavities in simulated human tissue that

are “significantly larger than the cavity sizes caused by handguns, [the] Thompson Machine, and

[a] musket.” Ex. 13, Hargarten Decl. ¶ 27. Testing also shows that the energy released by an AR-

15 5.56-millimeter round—1,055.05 joules—dwarfs that of: handguns (54.13 joules for a .25



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caliber round, 108.73 joules for a .32 caliber round, and 265.99 joules for a .40 caliber round); a

.45 caliber Thompson machine gun (301.81 joules); and a musket ball (111.27 joules). 26 Id. ¶ 26.

       Assault weapon rounds also are more likely to injure multiple organs and kill children.

Assault weapon rounds tend to cause victims to suffer multiple organ injuries, increasing their

lethality compared to handgun rounds. Ex. 9, Schreiber Decl. ¶¶ 35–41. As one leading trauma

surgeon and retired Navy captain put it in describing AR-15 wounds: “[I]t’s as if you shot

somebody with a Coke can.” Ex. 5, Andrew Decl. ¶ 34 (quoting Dr. Pete Rhee). The impact is

especially catastrophic for children: the relative proximity of vital organs to each other in

children’s smaller bodies increases the likelihood of serious injury or death. Ex. 13, Hargarten

Decl. ¶¶ 32, 34–35. The grim reality of school shootings bears this out. At Sandy Hook Elementary

School in 2012, twenty children between the age of six and seven years old were shot with an AR-

15. None of them survived. Id. ¶ 35.

       In addition to the catastrophic impact of each individual round from an assault weapon, the

rate of fire enabled by assault weapons makes them lethal weapons of war, especially when used

with large capacity magazines. For example, a semi-automatic AR-15 equipped with a 30-round

magazine is capable of firing substantially more rounds per minute than a bolt-action Remington

hunting rifle with a magazine of three to five rounds. Id. ¶ 28. Even though laboratory tests indicate

that the energy delivered by a single Remington round comes close to what a single AR-15 round

imparts, the rapid rate of fire enabled by the AR-15’s semi-automatic reloading means that the

AR-15 releases significantly more energy on a per-minute basis than the hunting rifle. Id. The

magazine size—30 rounds versus 3 to 5—also drastically reduces the frequency of reloading


26
   A joule is “a unit of work or energy equal to the work done by a force of one newton acting
through a distance of one meter.” Joule, Merriam-Webster.com Dictionary (Merriam-Webster),
www.merriam-webster.com/dictionary/joule (last visited Feb. 27, 2023).

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needed for the AR-15 compared to the hunting rifle. Id. Because of its rate of fire, an AR-15 style

weapon is capable of causing massive destruction at a speed not possible with a hunting rifle. Id.

¶ 29. This vastly differential killing capability is why Remington’s hunting rifles are permitted

under the Act, but AR-15s and similar assault weapons are not.

       Plaintiffs downplay the capabilities of assault weapons subject to the Act by differentiating

between semi-automatic and automatic fire. Harrel Compl. ¶ 38; Barnett Compl. ¶¶ 18, 19 n.1,

74; FFL Compl. ¶ 85. They attempt to cast the AR-15s available to civilians as tame by contrasting

them with automatic machine guns used by the military that fire between 750-6000 rounds a

minute. Id.

       These allegations are misleading and beside the point. See Ex. 6, Busse Decl. ¶ 34. While

it is true that automatic firearms generally have a higher rate of fire than semi-automatic firearms,

the carnage a firearm inflicts depends on the number of rounds that hit intended targets. Assault

weapons combine a high rate of fire and continued accuracy—that combination is what makes

them so lethal. See Ex. 6, Busse Decl. ¶¶ 23, 34; Ex. 13, Hargarten Decl. ¶ 14 n.5 (noting that

assault weapons enable rounds to be fired at “high velocity,” “a high rate of delivery,” and “a high

degree of accuracy at long range”); accord Ex. 5, Andrew Decl. ¶ 20 n.4. The U.S. Army

understands this fact. The Army’s 2008 Field Manual for the M-16—which, unlike its civilian AR-

15 counterparts, enables both automatic and semi-automatic fire—stressed that semi-automatic

fire is the “‘most important firing technique during fast-moving, modern combat,’” and further

noted that “‘[i]t is surprising how devastatingly accurate rapid semi-automatic fire can be.’” Ex. 5,

Andrew Decl. ¶ 33. This is why U.S. Special Forces trainers also teach that semi-automatic fire is

the preferred and most lethal setting in most wartime scenarios. Ex. 6, Busse Decl. ¶ 34.




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       The nexus between rate of fire and lethal accuracy is why the Act, in defining “assault

weapon[s]” subject to its restrictions, zeroes in on firearm features enabling a shooter to maintain

lethal accuracy while discharging a high number of rounds in a short time. See 720 ILCS 5/24-

1.9(a)(1)(A)-(C). The Act defines assault weapons in relevant part as semiautomatic rifles or

pistols with one or more features like: “a protruding grip,” “a flash suppressor,” a “pistol grip or

thumbhole stock,” a “folding” or “telescoping” stock, or a “shroud” on the barrel that allows the

“bearer to hold the firearm with the non-trigger hand without being burned,” id. §§ 1.9(a)(1)(A)(i)-

(iv), (vi) & 1.9(a)(1)(B)(ii)-(iv). See also Ex. 3, Demuth Decl., Ex. A (providing examples). These

features all facilitate greater sustained accuracy when shooting multiple rounds in quick

succession:

    Thumbhole stocks and pistol grips allow a shooter to control and aim a rifle during periods
     of rapid fire. Ex. 6, Busse Decl. ¶¶ 13, 14.

    A protruding or second grip is also designed to keep a firearm stable during rapid firing. Ex.
     6, Busse Decl. ¶ 15; Ex. 8, Yurgealitis Decl. ¶ 81. This additional grip allows shooters to
     better control the muzzle during firing and can help keep the rifle stable during magazine
     changes, which can reduce reloading time. Ex. 6, Busse ¶ 15. Forward grips first gained
     prominence among special operations and other military units. Id.

    Flash suppressors are devices added to the end of a firearm to direct the gas produced from
     firing in directions that result in reduced recoil and muzzle rise, allowing the shooter to stay
     on target in extended rapid-fire situations. Ex. 6, Busse Decl. ¶ 17. By reducing muzzle flash,
     flash suppressors help conceal a shooter’s location (e.g., from enemies in war, or from law
     enforcement in domestic use), and allow a shooter to more easily acquire additional targets
     in low light conditions without having to wait for their vision to adjust to a brighter muzzle
     flash. Ex. 8, Yurgealitis Decl. ¶ 84.

    A barrel shroud enables a shooter to stabilize a rifle with the non-trigger hand without getting
     burned by the barrel heat generated during rapid fire. Ex. 6, Busse Decl. ¶ 19.

In short, the design objective of each of the restricted features is to enable a shooter to stay on

target—to be more lethal—while firing large amounts of ammunition in quick succession.

       The Act’s two-fold approach to defining assault weapons—identifying features and listing

specific models—is not novel. The federal assault weapons law in effect from 1994 through 2004

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adopted a similar features-based definition, which it also combined, like the Act, with a list of

specifically covered models. See Pub. L. No. 103-322, § 110102, 108 Stat. 1796 (amending 18

U.S.C. § 921(a)).27 For both the expired federal law and the Act, the features covered are not

necessary “for the purpose of self-defense.” McDonald, 561 U.S. at 750. Instead, their purpose is

primarily to facilitate lethal accuracy during rapid fire. While these features are “useful in military

service,” they are unnecessary for civilian self-defense. Heller, 554 U.S. at 627. On the other hand,

because of the accuracy-enhancing features in modern assault weapons, mass shooters who use

them do not require a high level of firearms training or practice to inflict mass death and injury at

both close and extended ranges. Ex. 5, Andrew Decl. ¶¶ 41–42. Faced with this reality, the Illinois

General Assembly had ample reason to restrict access to these weapons of war.

                   b. Sales and ownership numbers do not show commonality or use.

       In support of their motions, Plaintiffs offer no evidence establishing the restricted weapons

are commonly used for self-defense. Plaintiffs instead allege that millions of Americans “have

owned” AR-15 riles at some point, and some of those who do report in surveys that they own them

for self-defense. See, e.g., Harrel Compl. ¶¶ 35, 39.28 Neither allegation is sufficient to show




27
   The federal features-based definition for “semiautomatic assault rifle[s]” was based on the
combination of two or more of the following features: “(i) a folding or telescoping stock; (ii) a
pistol grip that protrudes conspicuously beneath the action of the weapon; (iii) a bayonet mount;
(iv) a flash suppressor or threaded barrel designed to accommodate a flash suppressor; and (v) a
grenade launcher.” Pub. L. No. 103-322, § 110102, 108 Stat. 1796 (amending 18 U.S.C. § 921(a)).
The features listed for “semiautomatic assault pistols” were: (i) an ammunition magazine that
attaches to the pistol outside of the pistol grip; (ii) a threaded barrel capable of accepting a barrel
extender, flash suppressor, forward handgrip, or silencer; (iii) a shroud that is attached to, or
partially or completely encircles, the barrel and that permits the shooter to hold the firearm with
the nontrigger hand without being burned; (iv) a manufactured weight of 50 ounces or more when
the pistol is unloaded; and (v) a semiautomatic version of an automatic firearm[.]” Id.
28
   See also Barnett Compl. ¶ 30 (alleging approximately 24 million AR-15-style rifles “are
currently owned nationwide”); FFL Compl. ¶ 81 (same).

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“common use” for self-defense and, by extension, coverage by the Second Amendment. See

McDonald, 561 U.S. at 749–50; Bruen, 142 S. Ct. at 2134.

        Heller held and McDonald reaffirmed that “that the Second Amendment protects the right

to keep and bear arms for the purpose of self-defense.” McDonald, 561 U.S. at 749–50 (emphasis

added). Ownership statistics prove nothing about whether AR-15s and the like are commonly used

for self-defense. It would be circular for courts to determine the constitutionality of a restriction on

weapons sales by whether the market had been flooded with them yet. See Friedman, 784 F.3d at

409 (“It would be absurd to say that the reason why a particular weapon can be banned is that there

is a statute banning it, so that it isn’t commonly owned.”); Worman v. Healey, 922 F.3d 26, 35 n.5

(1st Cir. 2019) (noting that “measuring ‘common use’ by the sheer number of weapons lawfully

owned is somewhat illogical”). Heller confirms that the question is how the regulated weapons are

being used. In discussing the machineguns and sawed-off shotguns regulated by the National

Firearms Act of 1934, Heller took it as a given that these were not the “types of weapons” protected

by the Second Amendment. 554 U.S. at 623. Regardless of their prevalence in the 1920s and 1930s,

which Heller did not bother to assess, they could be banned because they were not weapons

“typically possessed by law-abiding citizens for lawful purposes,” id. at 624–25 (citing Miller, 307

U.S. 174).29



29
   The need to show both commonality and use for lawful self-defense is why Plaintiffs miss the
mark with their repeated reference to there being more AR-15s in circulation than there are Ford
F-150 pickups on the road. See Barnett Compl. ¶¶ 2, 32; accord FFL Compl. ¶ 153 n.63. A Ford
F-150 has never been used to murder dozens of children in an American classroom. See Ex. 4,
Klarevas Decl., Table 2 (AR-15 used in six of the seven deadliest mass shootings since 9/11,
including in Uvalde, Texas and Newtown, Connecticut). Most people are also content to own one
Ford F-150, whereas multiple Individual Plaintiffs want to stock up on multiple AR-15s. See, e.g.,
Barnett ECF 10-2, Norman Decl. ¶¶ 5, 7 (owns 4 “semiautomatic rifles on the AR platform,” and
“would like to purchase more firearms on the AR platforms”); Barnett ECF 10-1, Barnett Decl. ¶¶
3, 5 (currently owns “ARs and AK-47s” and “would like to purchase at least one more AR platform
rifle”). These Plaintiffs are part of a niche group of Americans who own AR-15s: a survey by one
                                                  35
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       Plaintiffs have not shown the assault weapons covered by the Act are commonly owned,

let alone used, for self-defense. Two categories of weapons already recognized by the Supreme

Court as weapons commonly used for self-defense, modern handguns and Colonial Era muskets,

provide a useful threshold for comparison. Handguns, the “quintessential self-defense weapon” in

modern America, Heller, 554 U.S. at 629, are vastly more common than the AR-15 rifles Plaintiffs

seek. According to data from the federal Bureau of Alcohol, Tobacco, Firearms, and Explosives

(“ATF”), handguns represent 50% of all firearms in civilian circulation in the United States. Ex.

4, Klarevas Decl. ¶ 28 & Fig. 14. By contrast, according to Plaintiffs’ own figures, AR-15s make

up only 5.3% of the firearms in civilian circulation in the United States. Id. ¶ 27. Plaintiffs tout

that “over 24 million AR-15 or similar rifles have been produced for the U.S. market,” Harrel

Compl. ¶ 35—but there are an estimated 461.9 million firearms in circulation in American society.

Ex. 4, Klarevas Decl. ¶ 27. This means there are more than 18 firearms that are not AR-15s for

every single AR-15 in civilian circulation.

       Even the vast majority of gun-owners in the United States do not own an AR-15. Out of

the 81 million Americans who own at least one firearm, only 6.4 million (or 8%) own “modern

sporting rifles”—the term the firearms industry uses to euphemize assault weapons. Ex. 4,

Klarevas Decl. ¶¶ 13, 27. All told, only 2% of Americans own a “modern sporting rifle” based on

the current U.S. population of 333 million people. Id. ¶ 27. This 2% figure is dwarfed by the 50%

to 60% of colonial Americans who, according to historians, owned a musket, fowling piece, or

other firearm. Ex. 10, Roth Decl. ¶ 15. Whether modern or historical reference points are




of the Advocacy Organization Plaintiffs, the National Shooting Sports Foundation, found that
owners of “modern sporting rifles” tend to own 3.8 such rifles on average, with only 24% of
owners owning a single such rifle. Ex. 4, Klarevas Decl. ¶ 27.

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considered, Plaintiffs’ allegations that AR-15s and other assault weapons are in “common use” do

not hold up to scrutiny.

       Plaintiffs’ own sources confirm that assault weapons are not commonly used for self-

defense. First, the research paper cited by the Plaintiffs found that handguns—not assault

weapons—accounted for a large majority of defensive uses of firearms.30 According to the

research Plaintiffs cite, only 13% of incidents of self-defense with guns involve rifles of any kind.

Id. And because the paper does not distinguish among types of features of rifles used for self-

defense, it is unclear whether any of this 13% includes weapons that are restricted by the Act. Id.

The paper also found that in more than 80% of cases where guns are used defensively, no shots

are fired at all, id. at 13–14, refuting Plaintiffs’ allegations that large capacity magazines are

somehow necessary to self-defense.

       Plaintiffs also cite a small consumer survey paid for by one of the Advocacy Group

Plaintiffs, the National Shooting Sports Foundation (“NSSF”). 31 This survey has no validity: not

only does it expressly disclaim that its results are potentially inaccurate, NSSF Survey at 2, but the

survey respondents do not appear to have been randomly selected, and the stated purpose of the

survey was to sway opinion on gun rights. Id. at 10. Page 18 appears to be the basis for Plaintiffs’

allegation about why some current owners want assault weapons, but even that slide shows

respondents rated recreational target shooting as a more important reason. And the fact that a non-

representative group of current gun owners stated that they believe that their assault weapons are

more important for self-defense than for “collecting” or “varmint hunting” does not show that


30
   William English, 2021 Nat’l Firearms Survey: Updated Analysis (May 2022), at 10–11 (cited
at Harrel Compl. ¶¶ 35, 39, Barnett Compl. ¶ 31, FFL Compl. ¶ 81 n.31).
31
   Harrel Compl. ¶ 39 (citing Nat’l Sports Shooting Found., Modern Sporting Rifle:
Comprehensive Consumer Report (July 14, 2022) available at https://bit.ly/3SSrVjM) (“NSSF
Survey”); accord FFL Compl. ¶ 154.

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assault weapons are actually used for that purpose. Quite the opposite: the survey did not identify

any respondents who used assault weapons for self-defense in the past twelve months. Id. at 43

(showing that individual self-defense was not among the nine kinds of uses reported by survey

respondents).

       In sum, the Act does not deprive Illinois residents of weapons in common use for self-

defense. Rather, it limits access to a category of weapons designed to inflict “‘phenomenal

lethality’” on the battlefield, because those weapons are turning our streets, schools, and offices

into combat zones. Ex. 5, Andrew Decl. ¶ 32. From 1991 to 2022, there were 93 mass shootings

in our country where 6 or more victims died. Ex. 4, Klarevas, Ex. C. Out of the high-fatality mass

shootings (6 or more victim deaths) occurring in the last 8 years, half—50%—have been

perpetrated with assault weapons; and 76% involved large capacity magazines. Ex. 4, Klarevas

Decl. ¶ 12, Figs. 3 & 4. On the other hand, the Federal Bureau of Investigation (“FBI”) has

documented 406 active shooter incidents around the country since 2000; in all those tragedies,

there has only been a single instance—one32—where a civilian used an assault rifle defensively to

stop an active shooter. Ex. 4, Klarevas Decl. ¶ 25. To put it bluntly, assault weapons in civilian

hands are killing us, not protecting us. For that reason, they are not weapons in common use “for


32
   The FFL Plaintiffs identify this specific instance as one of seven where an AR-15 has allegedly
been used for “self defense and defense of others[.]” FFL Compl. ¶ 83. The source for the
allegations regarding these alleged incidents is a book titled America’s Rifle: the Case for the AR-
15. Id. ¶ 83 n.32. In addition to the questionable impartiality of this sourcing, the remaining six of
these incidents involved thwarted home invasions. For all of the 24.6 million AR-15s in
circulation, Plaintiffs can point to a total of seven self-defense incidents. During this same time
period, five of the seven deadliest mass shootings were committed with AR-15s, resulting in the
following death tolls: 60 in 2017 in Las Vegas, Nevada; 49 in 2016 in Orlando, Florida; 27 in 2012
in Newtown, Connecticut; 25 in 2017 in Sutherland Springs, Texas (all before the defensive AR-
15 use cited by Plaintiffs); and 21 in Uvalde, Texas in 2022. Ex. 4, Klarevas Decl., Table 2. A
sixth shooter used an AK-47, another assault weapon, to kill 23 people in El Paso, Texas in 2019.
Id. The deaths from just these six shootings dwarf any lives saved in self-defense from the
anecdotal incidents identified by the FFL Plaintiffs.

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the purpose of self-defense,” and they are not “arms” protected by the Second Amendment.

McDonald, 561 U.S. at 750.

           C. Even if Plaintiffs meet their textual burden, history and tradition allow
              regulating these weapons and accessories.

       The Act not only does not burden conduct covered by the plain text of the Second

Amendment, but it also fits well within the long-standing historical tradition of regulating

“dangerous and unusual weapons.” Bruen, 142 S. Ct. at 2129–30. In other words, Plaintiffs’ claims

are independently likely to fail at Bruen’s second step if the Court reaches it.

       Bruen’s second step allows regulations of conduct covered by the Second Amendment

when the government can show those regulations are “consistent with this Nation’s historical

tradition of firearm regulation.” Id. at 2126. The Supreme Court has recognized our country’s

“historical tradition of prohibiting the carrying of ‘dangerous and unusual weapons’”—a tradition

derived from English law pre-dating the Founding and subsequently incorporated into American

law. Heller, 554 U.S. at 627 (quoting 4 W. Blackstone, Commentaries on the Laws of England

148–49 (1769)). Bruen confirmed this tradition. 142 S. Ct. at 2132; see also id. at 2162

(Kavanaugh, J., concurring) (“[N]othing . . . should be taken to cast doubt on . . . the historical

tradition of prohibiting the carrying of dangerous and unusual weapons.”). To demonstrate that the

Act is consistent with this historical tradition, the State may use “analogical reasoning” to identify

historical regulations that are “relevantly similar” to the Act. Id. at 2133. The State’s burden is to

identify a “well-established and representative historical analogue, not a historical twin.” Id. The

Act need not be “a dead ringer for historical precursors” to “pass constitutional muster.” Id.

       To determine whether the historical regulations identified are relevantly similar to the Act,

this Court must consider “two metrics: how and why the regulations burden a law-abiding citizen’s

right to armed self-defense.” Bruen, 142 S. Ct. at 2133. These “how and why” considerations look

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to “whether modern and historical regulations impose a comparable burden on the right of armed

self-defense and whether that burden is comparably justified.” Id. In some cases, the historical

inquiry is “fairly straightforward,” such as when a challenged regulation addresses a “general

societal problem that has persisted since the 18th century.” Id. at 2131. But other cases require “a

more nuanced approach,” particularly cases “implicating unprecedented societal concerns or

dramatic technological changes.” Id. at 2132.

       The Act adheres to the tradition of regulating dangerous and unusual weapons. Its

restrictions on acquiring assault weapons and large capacity magazines share common purpose

with historical regulations targeting weapons especially disruptive and harmful to public order and

safety. See Bruen, 142 S. Ct. at 2133 (considering “why” historically analogous regulations were

enacted). The Act does so in a manner that imposes no more burden than comparable historical

regulations. See id. (considering “how” historically analogous regulations burdened “a law

abiding-citizen’s right to self-defense”). Americans in prior eras subject to comparable regulations

maintained the right to keep and carry muskets or rifles for self-defense, even as laws in several

states restricted weapons associated with public violence and criminality—concealable pistols,

Bowie knives, clubs, and, later, machine guns and semi-automatic weapons. The same is true here.

Law-abiding Illinois residents retain access to many firearms for self-defense, including handguns

with 15-round magazines, rifles with 10-round magazines, and shotguns. Because the Act regulates

“dangerous and unusual weapons” for a purpose and in a manner relevantly similar to comparable

historical regulations, it does not violate the Second Amendment. Id. at 2129–30. Plaintiffs’ claims

are unlikely to succeed.

               1. The Act responds to dramatic technological changes and unprecedented
                  societal concerns.

       Bruen’s “more nuanced approach” to “analogical reasoning” is appropriate in assessing


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whether the Act accords with historical tradition. 142 S. Ct. at 2132. The Act responds to “dramatic

technological changes”—the emergence of modern assault weapons in the Cold War era—that

have generated “unprecedented societal concerns”—mass-casualty shootings perpetrated by lone

gunmen empowered by these weapons.

       Assault weapons represent “dramatic technological changes” compared to the weapons that

existed in either 1791 or 1868. As discussed supra, compared to the single-shot, muzzle-loading

muskets of 1791, or the Colt revolvers or Winchester repeating rifles of 1868, the assault weapons

and large capacity magazines regulated by the Act are different in kind across multiple dimensions:

rate of fire, ease of reloading, power, range, sustained accuracy, and, ultimately, lethality. A

musket, Colt revolver, or Winchester repeating rifle from 1868 or before simply had nowhere close

to the accelerated re-loading capability that large capacity magazines and assault weapons enable.

The near-instantaneous swapping of a modern 30-round magazine is materially different than

manually re-filling each chamber of a Colt revolver, individually inserting rounds into a

Winchester repeating rifle, or loading a single musket ball in half a minute. This difference has

lethal implications: the Highland Park shooter could not have inflicted the same carnage in a

minute with a musket, a Colt revolver, or a Winchester repeating rifle as he did with his AR-15

and 30-round magazines. The Act responds to “dramatic technological changes.” Bruen, 142 S.

Ct. at 2132.

       These “dramatic technological changes” have wrought an “unprecedented societal

concern”: the ability of a single individual equipped with an assault weapon and large capacity

magazines to murder dozens of people in a matter of minutes, if not seconds. Id. The sharply

increasing frequency and severity of mass shootings in this country confirms this is a new

phenomenon. Before 1948, there were no mass shootings perpetrated by a single individual that



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resulted in double-digit fatalities. Ex. 4, Klarevas Decl. ¶ 18. The first known mass shooting

resulting in 10 or more deaths occurred in 1949. Id. It took 17 years for another comparably lethal

shooting to occur in 1966; 9 years passed before a third such shooting in 1975; and 7 years passed

before a fourth occurred in 1983. Id. ¶ 19. But in recent years—and especially since the expiration

of the federal assault weapons ban in 2004—the frequency and cumulative lethality of mass

shootings has increased dramatically.33 The following graph plots high-fatality mass shootings by

year (1776 to the present) and number of fatalities, with the large cluster on the right (i.e., more

recent) side showing just how modern this phenomenon is:




Id., Fig. 12. This trend demonstrates that mass shootings are a recent and “unprecedented societal

concern” made possible by “dramatic technological changes” in modern weaponry. Bruen



33
   The Barnett Plaintiffs contend that Congress allowed the federal assault weapons law to expire
in 2004 “after a study by the Department of Justice revealed that the law had produced ‘no
discernible reduction’ in gun violence.” Barnett Compl. ¶ 75 (citing Koper et al., at 96). Obviously,
this 2004 study could not and did not consider what has happened in the wake of the expiration of
the federal law: “It is well-documented in the academic literature that, after the Federal Assault
Weapons Ban expired in 2004, mass shooting violence increased substantially.” Ex. 4, Klarevas
Decl. ¶ 21. In fact, the frequency of mass shootings involving double-digit fatalities has increased
six-fold in the 18-plus years since. Id.

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therefore requires a “more nuanced approach” in drawing comparisons between the Act and

historical regulations. 142 S. Ct. at 2132.

                 2. There is a historical tradition of regulating dangerous and unusual
                    weapons associated with increased criminality and violence.

          As the Supreme Court recognized in Heller and Bruen, the United States has a long

historical tradition of regulating dangerous and unusual weapons. See Bruen, 142 S. Ct. at 2128;

Heller, 554 U.S. at 627. Plaintiffs acknowledge there is such a tradition, but disagree the Act is

consistent with it. Harrel Compl. ¶ 8; Barnett Mot. 8. Plaintiffs are wrong as a matter of history

and law. There is an uninterrupted through line running from regulations of pistols and “fighting

knives” in the 18th and 19th centuries, to revolvers in the latter half of the 19th century, to machine

guns in the early 20th century, to assault weapons in the late 20th and early 21st centuries. In each

historical era, our ancestors regulated these specific categories of weapons when their proliferation

coincided with escalating or novel forms of violence. Unsurprisingly, the scope of the regulation

increased commensurate with the increasing danger posed by new weapons technology—moving

from concealed-carry prohibitions on single-shot pistols to outright possession bans on machine

guns by the early 20th century. The purchase-and-sale and possession limitations Plaintiffs

challenge in the Act are entirely consistent with this tradition.

                     a. From the Founding Era through the 19th century, legislatures enacted
                        categorical restrictions on dangerous and unusual weapons, including
                        specific firearms.

          The historical tradition of regulating dangerous and unusual weapons pre-dates the

Founding. For example, Blackstone’s Commentaries on the Laws of England noted that “riding or

going armed with dangerous or unusual weapons is a crime against the public peace, by terrifying

the good people of the land[.]”34 4 William Blackstone, Commentaries 148–49 (1769); see Bruen


34
     Plaintiffs misinterpret the phrase “dangerous and unusual” in Heller to argue that firearms can
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142 S. Ct. at 2128 (citing Blackstone). Colonial lawmakers were explicit about specific categories

of weapons they understood to be dangerous or unusual. For example, a 1686 New Jersey law

restricted concealed carrying of “any pocket pistol, skeines, stilettoes, daggers or dirks, or other

unusual or unlawful weapons.” Ex. 14, Excerpts from Historical Regulations Cited, Table 1

(quoting The Grants, Concessions, and Original Constitutions of The Province of New Jersey 289–

90 (1686) (An Act Against Wearing Swords, Etc.). Categorical restrictions on specific dangerous

or unusual weapons continued to emerge in the 18th century. Between 1750 and 1799, six states

(or soon-to-be states) passed laws restricting the carrying of blunt weapons like clubs. Ex. 11,

Spitzer Decl. ¶ 76 (citing Exhibit C). These laws were a response to the growing use of the

regulated weapons by criminals and as fighting instruments. Id. ¶ 79. Over time, legislatures added

new categories to these “dangerous or unusual” weapons statutes.

       The tradition of categorical regulation of specific dangerous or unusual weapons carried

over into the early American Republic. New forms of violence triggered by new weaponry drove

legislatures to respond. Prior to the American Revolution, homicide rates among colonists were

low; that began to change in the first half of the 19th century, especially in southern slave states

and frontier regions. Ex. 10, Roth Decl. ¶ 13. Homicide rates in southern and frontier states soared




be prohibited only if they are both dangerous and unusual. Harrel Compl. ¶ 8. See Heller, 554
U.S. at 627. The Court’s use of the phrase derives from Blackstone’s commentary, quoted above,
which describes “dangerous or unusual weapons” (emphasis added). Other historical sources cited
in Heller use the same disjunction. See Charles Humphreys, A Compendium of the Common Law
in Force in Kentucky 482 (1822) (“Riding or going armed with dangerous or unusual weapons, is
a crime against the public peace . . . .”); Henry J. Stephen, Summary of the Criminal Law 85
(listing among “offences against the public peace” the crime of “[r]iding or going armed with
dangerous or unusual Weapons”); O’Neill v. State, 16 Ala. 65, 67 (1849) (noting that criminal
liability could be imposed for wielding “deadly or unusual weapons”). To the extent Heller’s
animating principle is fidelity to historical tradition, “or,” not “and,” is more historically accurate,
and the disjunctive was clearly not at issue in Heller.

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in the antebellum period, driven in large part by the increased ownership of concealable percussion

cap pistols and fighting knives. Id.

        The emergence of the Bowie knife and the widespread regulatory response to it illustrate

how legislatures enacted categorical restrictions to attempt to tamp down on weapons-driven

violence. The Bowie knife was invented in the 1820s and gained notoriety in the 1830s. Ex. 11,

Spitzer Decl. ¶¶ 62–63. Although variations existed, the Bowie knife was typically a large, single-

edged knife with a cross guard and a blade with a clipped point. Id. ¶ 63. These characteristics

made them particularly effective “fighting knives,” and they were widely used in fights and duels,

especially at a time when single-shot pistols were unreliable and often inaccurate. Id.; Ex. 10, Roth

Decl. ¶¶ 25, 30.

        Bowie knives and similar “fighting knives” could also be carried concealed. Ex. 10, Roth

Decl. ¶ 24. Their concealability contributed to their criminal misuse: They were used to ambush,

bully, and intimidate law-abiding citizens, and to seize the advantage in fist fights. Id. An 1834

plea by a grand jury in Jasper County, Georgia to the state’s legislature summarizes the social harm

these weapons caused:

        The practice which is common amongst us with the young[,] the middle aged[,] and
        the aged[,] to arm themselves with Pistols, dirk[,] knives[,] sticks[,] & spears under
        the specious pretence of protecting themselves against insult, when in fact being so
        armed they frequently insult others with impunity, or if resistance is made the
        pistol[,] dirk[,] or club is immediately resorted to, hence we so often hear of the
        stabbing[,] shooting & murdering [of] so many of our citizens.

Id. These concerns were not unique to Georgia. The proliferation of fighting knives and other

concealed weapons drove criminal violence in many parts of the country to previously unknown

levels. Id. ¶ 27.

        Legislatures in the 19th century responded to this burgeoning violence with categorical

restrictions on the Bowie knife and other “fighting knives.” Over the course of the 19th century,


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at least 38 states (or soon-to-be states) and the District of Columbia enacted restrictions on Bowie

knives, often in conjunction with other categories of “dangerous or unusual” weapons associated

with violence (e.g., clubs, bludgeons, “slung shots”). Ex. 14, Table 2. This regulatory trend began

in the 1830s when 6 states enacted laws barring carriage of the Bowie knife. Id. Other legislatures

also targeted the Bowie knife, adopting different regulatory approaches as they saw fit: 15 states

banned both open and concealed carry; 29 barred concealed carry; 4 taxed their commercial sale;

3 taxed ownership; 10 barred their sale to specific groups; and 4 punished brandishing them. Ex.

11, Spitzer Decl. ¶ 71 & Ex. H. Apparently, none of these 39 legislatures understood the Second

Amendment to prohibit categorical restrictions on weapons that were driving new forms of

violence.

       The categorical regulation of Bowie knives parallels the regulatory response to another

emergent weapon: concealable, percussion cap pistols. As early as the 17th century, pistols were

categorically regulated. The 1686 New Jersey law referenced above expressly prohibited

concealed carry of “pocket pistol[s].” Ex. 14, Table 1. Concern about the concealability of

“pocket” pistols foreshadowed regulatory concerns in later eras. Firearms that could be concealed

created new societal concerns. For much of the Colonial and Founding Eras, the predominant

firearms owned by Americans, muskets and fowling pieces, were infrequently associated with

criminal violence. Ex. 10, Roth Decl. ¶ 15. They were liable to misfire, slow to reload, and

infrequently stored ready to fire, reducing the likelihood of impulsive use. Id. ¶ 16. Likely for these

reasons, only 10% to 15% of family, intimate, and partner homicides in the Colonial and Founding

Eras were committed with guns. Id. ¶ 15. But advances in firearm technology in the first half of

the 19th century made guns a much more frequent murder weapon than before, increasing to a

third or two-fifths of homicides. Id. ¶ 23.



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        The emergence of percussion cap pistols propelled the upward trend in gun homicides and

homicides generally. Id. ¶ 13. Percussion cap pistols, unlike the flint-lock pistols they had replaced

by the mid-1820s, could be kept loaded and carried around for longer periods without risk of

corrosion. Id. ¶ 25. As with Bowie knives, this new form of weaponry contributed to rising crime

rates. Id. ¶ 27.

        Legislatures responded by passing laws regulating pistols. Between 1813 and 1838, at least

six states—Kentucky, Louisiana, Indiana, Arkansas, Georgia, 35 and Virginia—enacted

prohibitions on carrying certain concealable weapons, including pistols. Id. ¶ 26; Ex. 14, Table 1.

A seventh state, Tennessee, prohibited pistol carrying in 1870. Ex. 14, Table 3. At least three of

these states also prohibited selling pistols.36 Some of the early laws prohibiting concealed carry of

pistols included exceptions for “horseman’s pistols”—which were large, difficult to conceal, and

favored by travelers—or “army or navy pistols”—which were also large and carried by members

of the military. Id. ¶¶ 26, 36. These exceptions reflect the societal concern of the era: concealable

weapons associated with criminal violence.

        Prohibitions restricting the concealed carry of firearms, as well as other weapons,

proliferated throughout the remainder of the 19th century. This regulatory proliferation also arose

in response to another advance in firearms technology: the emergence of the first reliable multi-

shot handguns in the Civil War and Reconstruction Era, especially the Colt revolver. See supra

Section I.B.2. Ex. 11, Spitzer Decl. ¶ 48. As with prior advancements in firearms technology, its



35
  In 1846, the Georgia Supreme Court upheld the state’s restriction on concealed carry of pistols—
consistent with the widespread concern of the time about the particular danger caused by concealed
weapons—while also ruling that open carry could not be constitutionally prohibited. See Nunn v.
Georgia, 1 Ga. 243 (Ga. 1846).
36
  Ex. 10, Roth Decl. ¶ 36 (1881 Ark. Acts 191, 1879 Tenn. Pub. Act 135-36); Ex. 11, Spitzer
Decl., Ex. E at 21 (1837 Ga. Acts. 90).

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growing adoption coincided with escalating violence. Ex. 11, Spitzer Decl. ¶ 48. Once again,

legislatures responded. Beginning around 1870, legislatures began adding “revolver[s]” to the

same “dangerous and unusual weapons” statutes that, throughout the 19th century, had prohibited

carrying—usually, but not always,37 concealed—Bowie knives, clubs and other blunt fighting

weapons. An 1872 Wisconsin law exemplified this trend in making it unlawful for “any person”

to “go armed with a concealed dirk, dagger, sword, pistol, or pistols, revolver, slungshot, brass

knuckles, or other offensive and dangerous weapon[.]”38 By the turn of the century, at least 12

states and territories had enacted laws including revolvers on the list of weapons subject to

concealed carry prohibitions; at least another five had followed suit by 1917. 39 While many

legislatures, but not all, expressly regulated revolvers, there was near unanimity among the states

by the turn of the century in prohibiting or severely restricting concealable firearms and other

weapons. Ex. 11, Spitzer Decl. ¶ 48 & Ex. B.

       In all, this shows a pattern preceding the Founding and continuing into the 19th century:

When new weapon technology emerged, proliferated among civilians, and contributed to increased



37
   An 1891 West Virginia statute prohibited any person from “carry[ing] about his person any
revolver or other pistol . . . or any other dangerous or deadly weapon of like kind or character[.]”
Ex. 14, Table 1 (1891 W. Va. Code 915, Of Offenses Against the Peace, ch. 148, § 7).
38
  Ex. 14, Table 1 (Wisc. Sess. Law 17, Ch. 7, § 1, An Act to Prohibit and Prevent the Carrying of
Concealed Weapons).
39
   The following states expressly regulated revolvers: Georgia in 1870 (revolver “or any kind of
deadly weapon”); Wisconsin in 1872 (“revolver”); Colorado in 1881 (“any firearms, as defined by
law,” including revolvers); West Virginia in 1882 (revolver); Oregon in 1885 (revolver “or other
fire-arm”); Montana in 1883; Oklahoma in 1890 (revolver); Michigan in 1891 (revolver—state
enactment applicable to city of Saginaw); Alaska in 1896 (revolver “or other firearm”) (revolver
“or other deadly weapon”); Washington in 1897 (revolver or “other fire-arms”); Iowa in 1897
(revolver); New Jersey in 1905 (revolver or “other deadly, offensive or dangerous weapon or
firearm”); Massachusetts in 1906 (“loaded” revolver); Idaho in 1909 (revolver, “gun or any other
deadly or dangerous weapon”); North Dakota in 1915 (revolver, “gun . . . or any other dangerous
fire arm loaded or unloaded”); Oregon 1917 (revolver “or other firearm”). Ex. 14, Table 3.

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violence, legislatures imposed categorical weapon regulations. Legislatures did so to reduce

homicides, violence, and disruptions to public order. At the same time, Americans retained the

ability to own and carry other weapons for lawful self-defense.

                  b. This tradition continued when 20th century legislatures regulated
                     machine guns and assault weapons.

       The historical tradition of regulating “dangerous and unusual” weapons, including specific

types of firearms, continued into the 20th century. During and after World War I, firearms

technology began to most closely resemble the assault weapons and large-capacity magazines

covered by the Act, and the form of the regulatory response looked increasingly like—and even

more severe than—the Act. Hand-held semi-automatic and automatic weapons comparable to

assault weapons did not emerge until World War I. Ex. 11, Spitzer Decl. ¶¶ 14–15. When they did,

they began to impact civilian life through criminal violence, and legislatures continued their

practice of responding with categorical weapons regulations. Commensurate with the increasing

danger these new weapons posed, the regulations moved beyond carry-related restrictions to

outright possession bans.

       For example, the proliferation of the Thompson submachine gun (the “Thompson”) and

the Browning Automatic Rifle—both built for the battlefield, like assault weapons—triggered a

widespread regulatory response when they started being used to perpetrate high-profile crimes.

Ex. 11, Spitzer Decl. ¶¶ 15–16. The Thompson in particular became an object of public concern

in part because it was used in the infamous St. Valentine’s Day Massacre of 1929—in Chicago,

Illinois. Id. ¶ 15. News reports detailed lurid accounts of Prohibition-era gangsters using the

Thompson to inflict criminal violence. Id. ¶ 22. Demands for legislative action followed.

       As in prior eras, legislatures responded: between 1925 and 1933, at least 29 states enacted

anti-machine gun laws. Id. at Exs. B, D. But many laws went further than prior concealed-carry


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restrictions by banning possession of a machine gun with limited exceptions. Id. ¶ 23 & Ex. E.40

Congress followed suit. In 1932, it banned machine guns for the District of Columbia, and notably

defined a machine gun as “any firearm which shoots automatically or semiautomatically more than

twelve shots without reloading.” Id. ¶ 24 (quoting 47 Stat. 650, ch. 465, §§ 1, 14 (1932)) (emphasis

added). Congress was not alone in characterizing both automatic and semiautomatic firearms as

machine guns: 7 states also enacted laws restricting possession of semi-automatic weapons. Id.

¶ 28.

        With the National Firearms Act of 1934, Congress further responded to the dangers posed

by both automatic weapons, like the Thompson, and other firearms associated with criminal

violence, like concealable short-barreled shotguns and rifles. Id. ¶¶ 25-28. See National Firearms

Act of 1934, ch. 757, Sec. (a)-(b), 48 Stat. 1236, Pub. L. 73-474 (1934). 41 And, in 1939, the

Supreme Court held in Miller in reference to short-barreled shotguns in particular that the Second

Amendment does not guarantee “the right to keep and bear such an instrument.” 307 U.S. at 178.

Cf. Heller, 554 U.S. at 627 (citing Miller); Bruen, 142 S. Ct. at 2128 (same).

        These early 20th century laws illustrate a continuing historical tradition of regulating

dangerous and unusual weapons—particularly when those weapons embodied technological

advances and became associated with prominent public violence. This tradition runs throughout



40
   Examples of states that banned possession of machine guns, concealed or otherwise, included:
Massachusetts (1927); Michigan (1927); Illinois (1931); South Carolina (1934); Missouri (1929);
Texas (1933); Minnesota (1933); Washington (1933); Pennsylvania (1929); New York (1933);
California (1927); Kansas (1933); Louisiana (1932); Wisconsin (1933). The text of these laws is
in Ex. 14, Table 4.
41
  Specifically, the Act severely taxed their transfer (at $200 per transfer, which is over $4,300 in
today’s dollars), id. at § 3(a); required existing owners to register these weapons with the federal
government, id. at § 5(a); subjected purchasers to background checks, fingerprinting, and
documentation requirements, id. at § 4(a); and prohibited possession of covered firearms that had
been transferred in violation of these requirements, id. at § (6).

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the 20th century and to the present: through the federal assault weapons ban of 1994, to the laws

of 8 states and numerous localities that have regulated these weapons, and, ultimately, to the Act

challenged here. Id.

               3. The Act is relevantly similar to historical regulations.

       The regulations comprising the historical tradition of regulating “dangerous and unusual

weapons” are relevantly similar to the Act in terms of the metrics identified in Bruen: how and

why they burden a law-abiding citizen’s right to armed self-defense. 142 S. Ct. at 2133. The Act

imposes minimal burden, if any, on the right to self-defense. Neither assault weapons nor large

capacity magazines are necessary for self-defense, and the Act leaves Illinois residents free to

purchase, keep, and carry firearms that are commonly used for self-defense, including handguns,

shotguns, and many types of rifles. Whatever minimal burden may exist is justified by the same

overriding interest that motivated prior generations to enact similar regulations: the need to protect

the public from unusually lethal weapons associated with increased criminal violence.

                   a. The Act’s minimal burden on the right to self-defense is equivalent to,
                      or less than, comparable historical regulations.

       At most, the Act minimally burdens Plaintiffs’ Second Amendment right to possess

firearms for self-defense because they can continue to lawfully buy, sell, and keep many commonly

used firearms for self-defense: semi-automatic handguns, shotguns, and many types of rifles. The

Act’s minimal burden is relevantly similar to historical regulations that restricted specific

categories of firearms and other “dangerous and unusual” weapons, without affecting more

common weapons like muskets. None of these categorical regulations, then or now, meaningfully

impair the right to self-defense.

       The Act does not ban “an entire class of ‘arms’” commonly used for self-defense, like the

prohibition on handgun possession struck down in Heller. 554 U.S. at 628. The definition of


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“assault weapon” in the Act does not reach all rifles, all handguns, or all shotguns. 720 ILCS 5/24-

1.9(a)-(b). There are numerous firearms within each of these broad classes that can still be legally

bought, sold, and possessed in Illinois. Because Plaintiffs retain access to these weapons, all of

which are effective means of self-defense, the Act imposes a de minimis burden on Plaintiffs’

Second Amendment rights. Bruen, 142 S. Ct. at 2135 (self-defense is the “central component” of

the Second Amendment right).

       Plaintiffs attempt to whittle down the size of a “class” of firearms below Heller’s level of

generality by suggesting the Act prohibits a “multitude of semi-automatic firearms.” Barnett

Compl. ¶ 70; see also FFL Compl. ¶¶ 1, 75 (inventing a purported class of “magazine-fed semi-

automatics”). But the Act does not even come close to prohibiting all semi-automatic handguns,

rifles, or shotguns, or all such weapons that are “magazine-fed.” Even Plaintiffs’ “multitude”

characterization, misleading though it is, implicitly concedes the Act is not a class-wide ban like

in Heller. Multiple courts have likewise concluded that prohibitions on “assault weapons” are not

class-wide bans under Heller. See Worman, 922 F.3d at 37 (upholding an assault weapons ban

because it “proscribe[d] only a set of specifically enumerated semi-automatic assault weapons”),

abrogated on other grounds by Bruen, 142 S. Ct. 2111; Kolbe, 849 F.3d at 138 (rejecting attempt

to frame the AR-15 and other prohibited assault weapons as “a class of weapons” under Heller),

abrogated on other grounds by Bruen, 142 S. Ct. 2111. A ban on large capacity magazines is also

not the type of class-wide ban Heller disfavored. See ANJRPC, 910 F.3d at 117–18 (concluding a

large capacity magazine ban was not a class-wide ban under Heller), abrogated on other grounds

by Bruen, 142 S. Ct. 2111.42 Even after Bruen, the district court for the Northern District of Illinois


42
  Bruen abrogated Worman, Kolbe, and ANJRPC because of their use of means-end scrutiny. See
Bruen, 142 S. Ct. at 2126. The cited portions remain relevant to the question of how, if at all, the
restrictions in the Act burden the right to self-defense.

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concluded that the Act’s restrictions on assault weapons and large capacity magazines are

“constitutionally sound” and not the same as the “severe” handgun ban in Heller. Bevis v. City of

Naperville, No. 22-cv-4775, 2023 WL 2077392, at *9, 16 (Feb. 17, 2023).

       The Act is also not a ban of any kind as applied to Plaintiffs. Many Individual Plaintiffs

allege that they already own assault weapons and large capacity magazines covered by the Act. 43

The Act does not deprive them of these weapons or accessories: As long as the Individual Plaintiffs

lawfully owned these weapons and accessories at the time the Act took effect, they can continue

to lawfully own and possess them. 720 ILCS 5/24-1.9(d). The Gun Store Plaintiffs also remain

free to keep selling assault weapons and large capacity magazines to certain customers. 720 ILCS

5/24-1.9(e) (permitting sale of assault weapons to excepted persons and entities), id. § 1.10(e)-(f)

(same for large capacity magazines). While the Gun Store Plaintiffs might have fewer customers

for these items,44 an impact on their commercial success is not a Second Amendment violation.

The right protected is individual lawful self-defense, not an unlimited ability to profit from firearm




43
   Harrel ECF 16-1, Harrel Decl. ¶ 4 (owns “semiautomatic firearms and magazines” subject to
the Act); Barnett ECF 10-2, Norman Decl. ¶ 5 (“currently own[s] more than 50 firearms,”
including 4 “semiautomatic rifles on the AR platform” and “[a]nother 7 [] semiautomatic pistols
capable of accepting magazines with greater than 15 rounds”); Barnett ECF 10-1, Barnett Decl.
¶ 3 (“currently own[s] several semiautomatic rifles with a pistol grip and the capacity to accept a
detachable magazine, including ARs and AK-47,” as well as “many magazines for these long guns
that are capable of holding more than 10 rounds”). The Langley Plaintiffs describe themselves as
“gun owners in Illinois,” do not indicate whether they own assault weapons or large capacity
magazines subject to the Act, but also plead a separate (now stayed) claim against the Act’s
registration requirement for current owners. See Langley Mot. 1. The Individual Plaintiffs in FFL,
Debra Clark, Jasmine Young, and Chris Moore, also do not identify what firearms they currently
own, though Ms. Clark claims to be “intent on purchasing additional AR-rifles[.]” FFL Compl.
¶ 20 (emphasis added).
44
  Barnett ECF 10-3, Hood Decl. ¶ 5; Barnett ECF 10-4, Smith Decl. ¶ 7; Harrel ECF 16-2, Brooks
Decl. ¶ 6; Harrel ECF 16-3, DeBock Decl. ¶¶ 5–7; FFL ECF 29-1, Clark Decl. ¶¶ 7–9; FFL ECF
28-4, Pulaski Decl. ¶¶ 9–11.

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sales. The Advocacy Group Plaintiffs have not identified how they are burdened in any way

distinct from the Individual or Gun Store Plaintiffs. 45

       The Act prevents the Individual Plaintiffs from buying more assault weapons and more

large capacity magazines than they already own. That is not a significant burden on the Individual

Plaintiffs’ right to self-defense. Plaintiffs may keep buying any number of handguns, shotguns,

and rifles, just not assault weapons that meet the Act’s criteria. The same is true for magazines.

The Individual Plaintiffs can purchase as many 15-round handgun magazines or 10-round rifle

magazines as they want without violating the Act. They can continue to use those magazines with

their lawful firearms for self-defense. The Act has not deprived the Individual Plaintiffs of the

means to defend themselves. Having slightly fewer options at the gun store is not a meaningful

Second Amendment burden when the remaining options provide ample means for self-defense.

       As for the Gun Store Plaintiffs, their financial concern about a smaller customer base is not

a burden on any Second Amendment self-defense right. While the Act might impact their

revenue—no doubt a concern for any business owner—none claim that everything they sell is now

prohibited by Act. Even the most specific allegations offered by the Gun Store Plaintiffs—one

Barnett Plaintiff claims that 48% of inventory acquired in 2021 and 2022 meets the Act’s

definitions, and another’s claim that “well more than half” of revenue sources from “recent years”

would potentially be impacted—reflect the fact the Gun Store Plaintiffs sell large numbers of

firearms and accessories that are not covered by the Act. Barnett ECF 10-3, Hood Decl. ¶ 5; id. at



45
   Harrel ECF 16-4, Pearson Decl. ¶¶ 2–5 (Illinois State Rifle Association); Harrel ECF 16-5,
Combs Decl. ¶¶ 2–5 (Firearms Policy Coalition); Harrel ECF 16-6, Gottlieb Decl. ¶¶ 2–5 (Second
Amendment Foundation); FFL ECF 28-1, Pratt Decl. ¶¶ 4–16 (Gun Owners of America); FFL
ECF 28-2, Boch Decl. ¶¶ 8–15 (Guns Save Life); FFL ECF 28-3, Eldridge Decl. ¶¶ 11–17 (Federal
Firearms Licensees of Illinois).



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10-4, Smith Decl. ¶ 7. While the Gun Store Plaintiffs may need to prioritize selling other firearm

types and accessories, that is not a constitutional burden.46 The fact that the Gun Store Plaintiffs

acknowledge that half of what they sell is unaffected by the Act further confirms that law-abiding

Illinois residents continue to have many lawful self-defense options to choose from.

       Because the Act preserves access to many firearms for self-defense, while focusing on a

subset of “highly dangerous” weapons and accessories particularly susceptible to criminal misuse,

it is relevantly similar to historical regulations of “dangerous and unusual weapons.” Heller, 554

U.S. at 627; Bevis, 2023 WL 2077392, at *16. The Act is similar to the restrictions on pistols and,

later, revolvers that legislatures enacted in the 17th, 18th, and 19th centuries. See generally Bevis,

2023 WL 2077392, at *10–14 (detailing the historical tradition of regulating “dangerous or

unusual” weapons and concluding that “assault weapons and large-capacity magazines fall under

this category”). Legislatures from prior eras enacted regulations that kept these “dangerous or

unusual” weapons out of public spaces because of their propensity to cause criminal violence. Ex.

11, Spitzer Decl. ¶ 82; Ex. 10, Roth Decl. ¶ 26–28, 35–40; Ex. 12, Delay Decl. ¶ 65. Bowie knives,


46
   The Second Amendment protects an individual right to armed self-defense—not a commercial
right to sell any weapon to any customer. Multiple courts have held under Bruen’s “plain text”
step that Second Amendment does not protect the right to sell firearms. See United States v. Tilotta,
No. 19-cv-4768, 2022 WL 3924282, at *5 (S.D. Cal. Aug. 30, 2022) (applying Bruen’s “plain
text” requirement to hold that the commercial sale and transfer of firearms was “not cover[ed]” by
the Second Amendment); United States v. Flores, No. H-20-427, 2023 WL 361868, at *3 (S.D.
Tex. Jan. 23, 2023) (applying Bruen’s “plain text” requirement and concluding “selling guns at
wholesale or retail” did not fit within the meaning of to “keep and bear”); Gazzola v. Hochul, No.
22-cv-1134, 2022 WL 17485810, at *14 (N.D.N.Y. Dec. 7, 2022) (finding no authority
“supporting a Second Amendment right for an individual or a business organization to engage in
the commercial sale of firearms”); Defense Distributed v. Bonta, No. 22-cv-6200, 2022 WL
15524977, at * 4 (C.D. Cal. 2022) (state law prohibiting sale of tools and parts to self-manufacture
firearms did not reach conduct covered by the Second Amendment’s plain text), adopted, 2022
WL 15524983 (C.D. Cal. Oct. 24, 2022). As a result, the Gun Store Plaintiffs have no
constitutional claims on their own behalf and can only attempt to bring claims on behalf of
customers—i.e., the same Second Amendment claims as the Individual Plaintiffs (which fail for
all the reasons discussed in Sections I.B and I.C).

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other “fighting knives,” clubs, and popular melee weapons (“slung shots,” bludgeons, billy clubs)

were also subject to regulation as “dangerous or unusual weapons,” often in the very same statutes.

Ex. 11, Spitzer Decl. ¶ 70–81, Ex. B, C, H. See Bevis, 2023 WL 2077392, at *10–13 (discussing

historical regulations on these weapons).

       These historical regulations frequently took the form of bans on concealed carry, and

sometimes prohibitions on any form of public carry, concealed or otherwise. Ex. 11, Spitzer Decl.,

Exs. B, C, E. Bevis, 2023 WL 2077392, at *13. Beginning as early as 1837, multiple legislatures

in the 19th century also enacted prohibitions on the sale of specific “dangerous or unusual

weapons,” including pistols.47

       Later, following World War I, legislatures similarly responded to the machine guns and

high-capacity semi-automatic weapons that had migrated from 20th century battlefields into

American communities and homes. Ex. 11, Spitzer Decl. ¶¶ 14–29. Given that the danger posed

by these firearms went well beyond their concealable nature, numerous legislatures tailored their

response by enacting bans on civilian possession of these weapons. Id. ¶¶ 31, Ex. D (collecting

machine gun laws). Many early 20th century legislatures also expressly banned the sale of machine

guns.48 They also regulated based on ammunition capacity, including for semi-automatic

weapons.49 Between 1917 and 1934, “[t]wenty-three states imposed some limitation on


47
  Ex. 10, Roth Decl. ¶ 36 (1881 Ark. Acts 191, 1879 Tenn. Pub. Act 135-36); Ex. 11, Spitzer
Decl., Ex. E at 21 (1837 Ga. Acts. 90)
48
  See Ex. 11, Spitzer Decl., Ex. D; Ex. 14, Table 4: South Carolina (1934); Missouri (1929);
Minnesota (1933); North Dakota (1931); Illinois (1931); Texas (1933); Pennsylvania (1929);
Washington (1933); New York (1933); California (1933); Louisiana (1932); Nebraska (1929);
Wisconsin (1931-33); New Jersey (1927).
49
   See, e.g., 1927 R.I. Pub. Laws 256–57, ch. 1052 §§ 1, 4 (prohibiting the manufacture, sale,
purchase, and possession of “any weapon which shoots more than twelve shots semi-automatically
without reloading”); 1927 Mich. Pub. Acts 888-89 § 3 (regulating guns that could fire “more than
sixteen times without reloading”).

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ammunition magazine capacity, restricting the number of rounds from anywhere between one

(Massachusetts and Minnesota) and eighteen (Ohio).” Bevis, 2023 WL 2077392, at *12 n.39

(collecting statutes).

        The Act operates in ways comparable to these historical regulations. See Bruen, 142 S. Ct.

at 2133 (considering “how” historical analogues and modern regulations burden Second

Amendment rights). Like regulations from the 18th, 19th, and early 20th centuries, the Act permits

law-abiding citizens to keep, carry, and acquire firearms commonly used for self-defense, but

restricts assault weapons and large capacity magazines because they are particularly dangerous,

unusual, and prone to criminal misuse. See Bevis, 2023 WL 2077392, at *15 (noting that “assault

weapons are used disproportionately in mass shootings, police killings, and gang activity”). Of

course, regulations of “dangerous and unusual” weapons from prior eras differ somewhat both

among themselves as a group and compared to the Act. But Bruen does not require “historical

twins,” only “historical analogues.” See Bruen, 142 S. Ct. at 2133. As the Northern District of

Illinois has already ruled, the Act satisfies Bruen’s requirements because it fits well within the

Nation’s historical tradition of regulating dangerous and unusual weapons. See Bevis, 2023 WL

2077392, at *10–16.

        In sum, the Act imposes no burden on the “central component” of the Second Amendment,

the right to self-defense, because many, many semi-automatic handguns, rifles, and shotguns

remain available to Plaintiffs to buy, sell, and possess. Bruen, 142 S. Ct. at 2135 (quoting Heller).

The Act is no more burdensome than other categorical restrictions on particular types of weapons

that cases like Heller and Miller have said are permissible. See Heller, 554 U.S. at 622–23

(discussing Miller, 307 U.S. 174); accord Bevis, 2023 WL 2077392, at *16 (noting “other effective




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weapons for self-defense” remained available). The Act follows the well-established historical

tradition of regulating dangerous and unusual weapons.

                   b. The Act’s justifications are the same as historical analogues, but even
                      more compelling.

       Whatever minimal burden the Act imposes is equally justified compared to regulations of

“dangerous and unusual” weapons from prior eras. Throughout American history, when

lawmakers have confronted new or escalating forms of societal violence, they have frequently

responded by regulating the instruments of that violence in an effort to reduce it. This is what the

Act does too. In response to an unprecedented phenomenon—mass shootings perpetrated by lone

individuals resulting in previously inconceivable casualty numbers—Illinois lawmakers sought to

limit access to the military-grade weaponry that makes this carnage possible.

       As discussed above, the categorical weapons restrictions enacted by past legislatures

responded to increases in societal violence. Near-ubiquitous Bowie knife restrictions proliferated

at a time when interpersonal conflicts and homicides were rapidly increasing, driven in substantial

part the availability and use of these knives. Ex. 11, Spitzer Decl. ¶ 63. Restrictions on concealable

pistols similarly followed the increased use of these guns in homicides. Ex. 10, Roth Decl. ¶ 24.

And later, as the spread of multi-shot revolvers coincided with an upward trend in gun violence,

regulations began to specifically target this new category of weapons. When automatic and semi-

automatic firearms began to inflict high-profile carnage in the civilian world, like Chicago’s St.

Valentine’s Day Massacre, legislatures responded by banning the possession and sale of these

weapons.

       The impetus for the Act is relevantly similar and even more compelling. Before the current

era, no single person armed with a single firearm could kill as many people in so little time. Since

September 11, 2001, the deadliest individual acts of intentional criminal violence in the United


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States have been mass shootings. Ex. 4, Klarevas Decl. ¶ 11 & Table 1. The frequency of high-

fatality mass shootings (involving 10 or more victim deaths) has also increased—especially after

the expiration of the federal assault weapons ban in 2004. Id., Figs. 1 & 2. A majority of these

shootings in recent years have involved assault weapons, large capacity magazines, or both. Id.

Figs. 3–5.

       The Illinois General Assembly passed the Act not long after the Nation’s grim tide of mass

shootings reached Highland Park, Illinois—where a lone gunman used an AR-15 and large

capacity magazines to fire 83 rounds in less than a minute, killing 7 people and wounding 48 more

at a July 4th parade. In doing so, the General Assembly followed the example of numerous

legislatures from prior eras who sought to prevent heinous acts of violence by limiting access to

the weapons that made them possible. In Bruen’s language, the “why” behind the Act is

indistinguishable from the motivations that drove our ancestors to regulate the “dangerous and

unusual” weapons of their times. 142 S. Ct. at 2133. Plaintiffs’ Second Amendment challenges to

the Act are unlikely to succeed.

                   c. Plaintiffs’ attempts to distinguish the Act from the historical tradition
                      of regulating dangerous and unusual weapons will fail.

       Plaintiffs are likely to try to discount the extensive historical tradition supporting the Act

in two ways: by ignoring the 20th century, and by portraying 19th century and earlier regulations

as nothing more than concealed-carry limitations. But both tactics disregard the Supreme Court’s

instruction that “analogical reasoning” not impose a “regulatory straightjacket.” Bruen, 142 S. Ct.

at 2133.

       Plaintiffs want this Court to avoid consideration of the 20th century because laws

prohibiting the sale and possession of machine guns from the 1920s and 1930s eviscerate their

claims. See, e.g., Barnett Compl. ¶ 89 (calling laws enacted in the 20th century “too late”).


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Plaintiffs’ willful blindness regarding the 20th century is at odds with Heller and Bruen. Heller

specifically examined the interplay between 20th century firearms technology—machine guns—

and a significant milestone in the regulatory response they generated—the National Firearms Act

of 1934. 554 U.S. at 625; accord Friedman, 784 F.3d at 408 (noting Heller’s conclusion that bans

on possessing machine guns were “obviously valid” even though such laws did not arise until

1927). The Heller majority was “startl[ed]” at the possibility, which it took as a logical implication

of the dissent’s reasoning, “that the National Firearms Act’s restrictions on machineguns . . . might

be unconstitutional[.]”50 554 U.S. at 624; accord Friedman, 784 F.3d at 408 (observing that

“Heller deemed a ban on private possession of machine guns to be obviously valid,” even though

“states didn’t begin to regulate private use of machine guns until 1927”).

        Heller likewise considered a 1939 case, United States v. Miller, 307 U.S. 174, upholding

indictments under the same statute against defendants caught transporting short-barreled shotguns,

another weapon type the statute regulated. Heller read Miller as standing for the proposition that

“the type of weapon at issue was not eligible for Second Amendment protection,” and that “the

Second Amendment right, whatever its nature, extends only to certain types of weapons.” 554 U.S.

at 622–23. The Heller majority accepted this proposition as in line with “the historical

understanding of the scope of the right” they articulated. Id. at 625. In other words, Heller


50
   At the same time, Plaintiffs go out of their way to disclaim any intent to challenge machine gun
bans—understandably so given what Heller said and the public outrage that would likely follow.
See, e.g., Barnett Compl. ¶ 19 n.1. But this disclaimer is hard to square with Plaintiffs’ arguments.
If the historical inquiry under Bruen must stop at 1868 or, in Plaintiffs’ most extreme telling, in
1791, then how can bans on possessing machine guns from the 1920s and 1930s survive “history
and tradition” scrutiny? There are two logical answers: either those possession bans are sufficiently
analogous to prior historical regulations to pass the Bruen test, or they are not. If the former is true,
and machine gun bans flow naturally from 19th and 18th century “dangerous and unusual”
weapons regulations, then the same is true for 20th and 21st century assault weapons regulations,
like the Act, which closely resemble machine gun bans. If the latter is true, then Plaintiffs’ current
disclaiming of an intent to challenge machine gun bans is likely to have a short shelf-life.

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considered 20th century regulations of 20th century weapons and understood those regulations as

in line with earlier history.

        In keeping with Heller, Bruen did not foreclose consideration of 20th century evidence. To

the contrary: by acknowledging that “dramatic technological changes” or “unprecedented societal

concerns” would necessitate a “more nuanced approach,” Bruen left the door open. 142 S. Ct. at

2132. It would be impossible to account for “technological changes” without looking at the time

period in which those changes arose. Id. The same is true for “societal concerns” with no precedent

before the 20th century (or the 21st, for that matter). Id. In short, both Heller and Bruen permit

consideration of 20th century evidence—especially in a case like this one involving both “dramatic

technological changes” and “unprecedented societal concerns.” Id.

        Nor does the evolution of the regulatory method of “dangerous and unusual” weapons

laws—moving from carry-related regulations to sale and possession bans—interrupt the through

line of this historical tradition or sever 20th century laws from it. The move to possession-based

bans in “dangerous and unusual” weapons laws was not unique, but instead reflected a broader

trend toward strict liability for certain “activities affecting public health, safety, and welfare.”

United States v. Freed, 401 U.S. 601, 607 (1971) (upholding an indictment under the National

Firearms Act, as amended in 1968, for possessing a hand grenade); accord United States v.

Dotterweich, 320 U.S. 277, 281–82 (1943) (“[The Food and Drugs Act of 1906, as amended in

1938,] is based on a now familiar type of legislation whereby penalties serve as effective means

of regulation . . .[i]n the interest of the larger good it puts the burden of acting at hazard upon a

person otherwise innocent but standing in responsible relation to a public danger.”); United States

v. Balint, 258 U.S. 250, 252 (1922) (upholding an indictment for selling derivatives of opium and

coca leaves under the Narcotic Act of 1914, and noting “[m]any instances” of “police power”



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regulations “where the emphasis of the statute is evidently upon achievement of some social

betterment rather than the punishment of the crimes as in cases of mala in se”).

       When 19th century legislatures focused on concealed carry of pistols, revolvers, and the

like, they did so because concealment was evidence of a “‘wicked purpose.’” 51 Bruen, 142 S. Ct.

at 2145 (quoting State v. Huntly, 25 N.C. 418, 422–23 (1843)). Consistent with presumptions from

the common law, criminal intent was understood at that time to be an essential element for any

criminal conviction. Balint, 258 U.S. at 251 (noting the “general rule at common law was that the

scienter was a necessary element in the indictment and proof of every crime”). That understanding

changed with the emergence of “public health, safety, and welfare” regulations around the advent

of the 20th century. Freed, 401 U.S. at 607; accord Balint, 258 U.S. at 252 (noting that “there has

been a modification of th[e] view” that “scienter” was a “necessary element” of every crime).

Machine gun laws from the early 20th century reflected this underlying shift in regulatory

approach that manifested in multiple types of laws seeking to protect the public from particularly

dangerous items. See Staples v. United States, 511 U.S. 600, 611–12 (1994) (discussing Balint and

Freed and characterizing “machineguns, sawed-off shotguns, and artillery pieces” as “items the

ownership of which would have the same quasi-suspect character we attributed to owning hand

grenades in Freed”).52


51
   See also Ex. 10, Roth Decl. ¶ 24 (quoting the Louisiana Supreme Court’s commentary on
“unmanly” men carrying concealed weapons to gain “secret advantages” over their adversaries),
¶ 34 (discussing Colt revolvers), ¶ 37 (concealed weapons leading to homicides) ¶ 39 (discussing
affirmative defense under Ohio concealed-carry law if accused could show circumstances that
would “justify a prudent man in carrying the weapon or weapons aforesaid for the defense of his
person, property or family”).
52
   Plaintiffs repeatedly cite Staples because there Justice Thomas distinguished between “certain
categories of guns—no doubt including the machine guns, sawed-off shotguns, and artillery pieces
that Congress has subjected to regulation,” and other “guns falling outside those categories” that
“traditionally have been widely accepted as lawful possessions,” 511 U.S. at 611–12. See Barnett
Compl. ¶¶ 3, 76; Barnett Mot. 1, 11; Harrel Compl. ¶ 33; Harrel Mot. 11, 15. But Staples was not
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         The purchase and sale limitations in the Act, as well as the conditions on possession, follow

in this trend. If anything, the Act is less onerous because all of its restrictions retain a mens rea

requirement—only those who “knowingly” sell, purchase, or possess assault weapons or large

capacity magazines in a manner prohibited by the Act are liable for violating it. 720 ILCS 5/24-

1.9 (b)-(c), 1.10(b)-(c). Cf. Staples, 511 U.S. 600 (requiring “knowledge” for a criminal conviction

for possession of a fully automatic AR-15). Plaintiffs’ attempt to distinguish the Act and its early

20th century antecedents from prior 19th and 18th century laws will fail.

 II.     Plaintiffs have not shown they will suffer irreparable harm.

         Plaintiffs have not shown they will “likely suffer irreparable harm” absent injunctive relief,

Orr, 953 F.3d at 502, because they have not provided any evidence that the Act impairs the ability

to bear arms for self-defense. Plaintiffs carry the burden to establish irreparable harm by making

a “clear showing” that they are entitled to relief. Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008).

Plaintiffs have not made such a showing, and their motion can be independently denied on this

basis.

         Plaintiffs’ claim of irreparable harm relies solely on Ezell v. City of Chicago, where the

Seventh Circuit held that irreparable harm may sometimes be presumed for Second Amendment




a Second Amendment case and, unlike Heller, did not analyze the kinds of weapons that are “arms”
protected by that right. Instead, it dealt with whether a criminal defendant charged with possessing
a “machinegun” in violation of federal law had to know the gun in question, an AR-15, could be
fired automatically because it had been modified to do so. Staples, 511 U.S. at 602–03. Justice
Thomas did not state or consider whether AR-15s in particular were “widely accepted as lawful
possessions,” but referred more generally to firearms being lawfully owned. 511 U.S. at 611–12;
cf. id. at 613–14 (noting that “roughly” 50% of American households own “at least one firearm of
some sort,” without further specification) (emphasis added). The other two branches of
government—a bipartisan Congress and then-President Clinton—did specifically address AR-15s
just three months later, when they enacted the federal assault weapons law banning AR-15s,
whether semi-automatic or otherwise. See Pub. L. No. 103-322, § 110102, 108 Stat. 1796
(amending 18 U.S.C. § 921(a)) (passed Aug. 25, 1994; signed Sept. 13, 1994).

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violations. 651 F.3d 684, 699 (7th Cir. 2011). The Seventh Circuit has since cautioned that Ezell

was decided “at a time when ‘Second Amendment litigation [wa]s new,’” and the decision

attempted to identify threshold inquiries that would govern in “‘some Second Amendment cases.’”

Wilson, 937 F.3d at 1036 (quoting and adding emphasis to Ezell, 651 F.3d at 700–01). But even

assuming such a presumption of harm applies, it only applies where a regulation burdens the

“central component” of the Second Amendment: “the right to possess firearms for protection.”

Ezell, 651 F.3d at 699 (emphasis added); see also id. at 708 (distinguishing an earlier case by

noting that it did not “involve the central self-defense component of the right”).

       The Ezell presumption does not apply here. As explained above, the Act does not regulate

arms commonly used for self-defense, and the restricted firearms and accessories are designed for

offensive military use rather than individual protection. The Act allows individuals to purchase

and wield handguns, “the quintessential self-defense weapon[s],” shotguns, and many types of

rifles. Heller, 554 U.S. at 629.

       Factual differences between this case and Ezell further undermine Plaintiffs’ claim of

irreparable harm. In Ezell, the challenged ordinance effectively banned firing ranges, while at the

same time another ordinance mandated training at firing ranges “as a condition of lawful firearm

possession.” Ezell, 651 F.3d at 704–05. The court also noted that “the core right” to possess

firearms “implies a corresponding right to acquire and maintain proficiency in their use.” Id. at

704. The ordinances at issue in Ezell therefore undermined all lawful gun ownership for self-

defense, thus “implicat[ing] the core of the Second Amendment right.” See id. at 708.53 The Act

has no comparable effect on the right to self-defense.



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   In addition, the court in Ezell found that the regulation required individuals to travel to another
jurisdiction to exercise their constitutional rights and found it “unimaginable” that imposing a
travel burden was consistent with constitutional safeguards. Ezell, 651 F.3d at 697–98. This case
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       Plaintiffs both fail to show that the restricted assault weapons and large capacity magazines

are important for individual self-defense generally, and they also fail to show the restrictions harm

them in particular. Many of the Individual Plaintiffs acknowledge they already own firearms,

including assault weapons and large capacity magazines.54 The Individual Plaintiffs do not explain

why the firearms they possess are insufficient for self-defense. 55 See 720 ILCS 5/24-1.9(d)

(grandfathering already-owned assault weapons); 720 ILCS 5/24-1.10(d) (grandfathering already-

owned large capacity magazines).

       The Gun Store Plaintiffs have not shown a risk of irreparable harm either. The proprietors

merely assert that they wish to sell more restricted firearms and accessories. There is no

constitutional right to maximize profits, and any theoretical injury is economic. And although the

Gun Store Plaintiffs have speculated they will lose revenue because of the Act, they have not

provided actual evidence of lost business, nor have they shown that they have unsaleable inventory

of restricted weapons and accessories. The Act allows retailers to sell assault weapons and large



imposes no such geographical burden: Plaintiffs can carry handguns anywhere they could have
before the Act took effect in accordance with concealed-carry requirements.
54
  Plaintiffs object that, as of April 10, 2023, the Act designates specific locations where they can
possess their “grandfathered” assault weapons. Barnett Compl. ¶ 63; Harrel Compl. ¶¶ 28, 56.
Plaintiffs characterize this list of locations as “severely limited,” Harrel Compl. ¶ 28, but Illinois’s
public carry laws, which are not at issue here, already restrict what weapons can be carried in
public and where. Illinois’s concealed-carry laws only permit public carry of “handgun[s].” See
720 ILCS 5/24-1(a)(4) (prohibiting carrying or possessing any firearm in public except in
accordance with the Firearm Concealed Carry Act, 420 ILCS 66/1 et seq.); 430 ILCS 66/5, 10(a)
(defining “concealed firearm” as a “handgun”); 720 ILCS 5/24-1(4) (delineating where and how
non-concealed-carry firearms can be possessed and carried). Plaintiffs make no attempt to identify
the locations where they could lawfully carry assault weapons in public prior to the Act where they
can no longer carry them because of the Act.
55
   The FFL Plaintiffs allege that the Act interferes with their ability to “repair” their
“grandfathered” assault weapons. FFL Compl. ¶¶ 3–4, 19, 109, 112, 124. However, the Act
specifically permits “grandfathered” assault weapons and large capacity magazines to be brought
to and possessed at the premises “of a licensed firearms dealer or gunsmith for the purpose of
lawful repair[.]” 720 ILCS 5/24-1.9(d)(3), (5); id. § 1-10(d)(3), (5).

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capacity magazines to current and retired law enforcement and members of the military, 720 ILCS

5/24-1.9(e), and to customers anywhere outside of the state, 720 ILCS 5/24-1.9(e)(C) (permitting

sales of otherwise restricted items “in another state or for export”). Without knowing what portion

of Gun Store Plaintiffs’ business is (a) selling firearms and accessories unregulated by the Act and

(b) selling assault weapons and large capacity magazines to law enforcement, military, and out-

of-state customers, this Court has no way to assess the likely effect of the Act on Plaintiffs.

       As a matter of law, the Gun Store Plaintiffs’ speculative allegations of economic loss are

inadequate to show irreparable harm. E. St. Louis Laborers’ Loc. 100 v. Bellon Wrecking &

Salvage Co., 414 F.3d 700, 705–06 (7th Cir. 2005) (“[A] plaintiff cannot obtain a preliminary

injunction by speculating about hypothetical future injuries.”); see also Gateway E. Ry. Co. v.

Terminal R.R. Ass’n, 35 F. 3d 1134, 1140 (7th Cir. 1994) (noting that economic loss is irreparable

only when monetary damages would come “too late to save plaintiff’s business”). 56



56
   One motion argues “economic injuries are irreparable when—as here—the defendants are
cloaked in Eleventh Amendment immunity,” and falsely equates an unrecoverable “single cent”
with an irreparable harm. Barnett Mot. 20. The only case cited for this incredible proposition is
where a court found irreparable harm likely because, if an injunction did not issue, pharmacies
would “hemorrhage dollars” and the state’s action would “cause pharmacies to close, employees
to be laid off, Medicaid services to cease, and, as a result of the latter, serious complications for
Medicaid patients” who “constitute the poor, the elderly, the disabled and families with children,
many of whom reside in rural areas with a dearth of other pharmacy options within close
proximity.” Cmty. Pharms. of Ind., Inc. v. Ind. Fam. & Soc. Servs. Admin., 801 F. Supp.2d 802,
806–07 (S.D. Ind. 2011). The Gun Store Plaintiffs’ threadbare speculations about lost cents clearly
do not compare to the facts showing imminent irreparable harm there, and the motion overstates
the legal import of the case too: Were it true that any damages in a suit against a defendant with
sovereign immunity were necessarily irreparable, the irreparable-injury requirement would be
“effectively eliminate[d]” in suits against the government. Save Jobs USA v. DHS, 105 F. Supp.
3d 108, 114 (D.D.C. 2015). That is why, even in cases in which financial losses may not ultimately
be recovered, courts hold movants to their “considerable burden of proving that those losses are
certain, great and actual.” Nat’l Min. Ass’n v. Jackson, 768 F. Supp. 2d 34, 52-53 (D.D.C. 2011).
See, e.g., McHenry County v. Raoul, No. 21-cv-20341, 2021 WL 8344241, at *2 (N.D. Ill. Dec.
27, 2021) (refusing to find irreparable harm sufficient to enjoin a state statute where affidavits
regarding loss revenue showed only a “disruption in cash flow” that did not “threaten” plaintiffs’
“existence”); McHenry County v. Raoul, No. 21-3334, 2022 WL 636643, at *1 (7th Cir. Jan. 12,
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       Finally, the Advocacy Group Plaintiffs do not allege any harm that is distinct from what

the Individual and Gun Store Plaintiffs allege. Their arguments fail for the same reasons.

III.   An injunction would harm the public interest.

       The public has a fundamental interest in limiting the death, injury, and suffering wrought

by mass shootings. Courts have repeatedly held that similar regulations of assault weapons and

large capacity magazines promote a “compelling interest in protecting the public” by reducing risk

of death and injury from guns. Kolbe v. Hogan, 849 F.3d 114, 139 (4th Cir. 2017); see also New

York State Rifle & Pistol Ass’n v. Cuomo, 804 F.3d 242, 261 (2d Cir. 2015).57 In a similar context,

the Tenth Circuit affirmed a district court’s decision not to enjoin a rule restricting bump stocks

(which modify semi-automatic weapons to replicate automatic fire), finding that “the public has a

strong interest in banning the possession and transfer of machine guns” and that “[t]he ban supports

the safety of the public in general . . . and the safety of law enforcement officers and first

responders.” Aposhian v. Barr, 958 F.3d 969, 991 (10th Cir. 2020).

       Empirical evidence shows that an injunction would undermine this vital public interest

because assault weapons and large capacity magazines pose an imminent threat to health and

safety. Widespread availability of assault weapons and large capacity magazines causes more

frequent and more lethal mass shootings. Ex. 4, Klarevas Decl. ¶ 11. While assault weapons are

rarely used for self-defense, they are increasingly the weapons of choice for mass shooters. Id.



2022) (finding plaintiffs suing State had not shown feared economic losses were “imminent
irreparable harm” because they had “not shown that they will lose substantial revenue absent an
injunction or that this loss of revenue is permanent” and refusing to stay the statute’s enforcement
pending appeal).
57
   Although these cases applied a form of means-end scrutiny that has since been foreclosed by
Bruen, their discussion of the public interest remains directly relevant to the preliminary injunction
factors. See Antonyuk v. Bruen, No. 22-cv-734, 2022 WL 3999791, at *36 (N.D.N.Y. Aug. 31,
2022).

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¶¶ 12–13. Bullets fired from assault weapons inflict more harm compared to other kinds of guns

due to their velocity and rate of fire, shattering bones and shredding organ tissue beyond the ability

of ordinary weapons. Ex. 9, Schreiber Dec. ¶¶ 24, 33–40; Ex. 13, Hargarten Dec. ¶¶ 31–35. At the

same time, large capacity magazines make shootings more deadly by increasing the number of

rounds that can be fired during a short time. Ex. 6, Busse Dec. ¶ 23; Ex. 4, Klarevas Dec. Fig. 10;

Ex. 13, Hargarten Dec. ¶¶ 28, 30; Ex. 8, Yurgealitis Dec. ¶ 95. The public’s interest in restricting

the availability of assault weapons and large capacity magazines “could not be more undeniably

compelling.” Ocean State Tactical, 2022 WL 17721175, at *19.58

IV.    The balance of equities tips firmly in favor of the State.

       The threat that assault weapons and large capacity magazines pose to public safety tips the

balance of harms heavily against a preliminary injunction. The public’s interest in limiting the

catastrophic effects of mass shootings59 far exceeds any speculative injury to Plaintiffs. And

because Plaintiffs are unlikely to prevail on the merits of their claims as explained in Section I,

they face a heightened burden to show that the balance of equities warrants injunctive relief. See

GEFT Outdoors, 922 F.3d at 364. Plaintiffs cannot meet this stringent standard.

       Enjoining the Act would allow future potential perpetrators of mass shootings ready access

to potent tools for mass murder. Compared with the risk of profound and irreparable damage to

Illinois residents posed by continued access to these weapons, Plaintiffs’ speculative allegations


58
   Plaintiffs fail to even acknowledge these vital public safety objectives, instead making a cursory
argument that “there is no public interest in enforcing statutes” that allegedly violate constitutional
rights. Harrel Mot. 21. See also Langley Mot. 4 (“There is no public interest in violating the
Constitution.”); FFL Mot. 20 (“[T]he public interest is not harmed by preliminarily enjoining a
law that is probably unconstitutional.” (cleaned up)). As explained above, the Act does not violate
a constitutional right.
59
   Where, as here, the proposed injunction would prevent the enforcement of a public-safety
statute, the interests of the public and the interests of the government are one and the same. See
Nken v. Holder, 556 U.S. 418, 435 (2009).

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of harm cannot justify a preliminary injunction. The Individual Plaintiffs retain ample means for

self-defense, including the assault weapons and large capacity magazines they lawfully possessed

prior to the Act taking effect. The Gun Store Plaintiffs’ fears of lost business do not constitute

irreparable harm, let alone harm that would outweigh the risk of injury and death should a

preliminary injunction be granted.

        A district court deciding whether to issue the extraordinary relief of a preliminary

injunction must “seek[] at all times to minimize the costs of being mistaken.” Cassell v. Snyders,

990 F.3d 539, 545 (7th Cir. 2021) In this case, the costs of mistakenly enjoining the challenged

provisions of the Act are dire. The motion for a preliminary injunction should be denied.

   V.      Plaintiffs’ request for final judgment is premature.

        In their preliminary injunction motions, the Barnett and Harrel Plaintiffs have also

audaciously requested final judgment now. This request was made before the State Defendants

had been served, before they have responded to the complaint, before discovery, and without citing

any cases supporting such an extraordinary request.

        Prior to Bruen, this Court may have found expedited judgment in Defendants’ favor

appropriate because controlling Seventh Circuit precedent affirmed the constitutionality of assault

weapon and large capacity restrictions like the Act. See Wilson, 937 F.3d 1028 (finding judgment

against the plaintiffs without factual development appropriate in light of Friedman). But there is

no such controlling precedent, pre- or post-Bruen, for judgment in a plaintiff’s favor. Indeed, the

only court in the Seventh Circuit to consider how assault weapon and large capacity restrictions

fare post-Bruen found them “constitutionally sound.” Bevis, 2023 WL 2077392, at *9. Plaintiffs’

request for final judgment should be denied.




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                                         CONCLUSION

       For the foregoing reasons, the Attorney General, the Governor, and Director Kelly request

that Plaintiffs’ motions for a preliminary injunction be denied, and that Plaintiffs’ motions seeking

judgment as a matter of law also be denied.


Dated: March 2, 2023

Respectfully submitted,

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Exhibits to follow:

   1. Newspaper Articles Cited
   2. Declaration of Robert Morgan
   3. Declaration of William E. Demuth II
   4. Declaration of Louis Klarevas
   5. Declaration of Phil Andrew
   6. Declaration of Ryan Busse
   7. Declaration of Dennis Baron
   8. Declaration of James E. Yurgealitis
   9. Declaration of Martin A. Schreiber
   10. Declaration of Randolph Roth
   11. Declaration of Robert Spitzer
   12. Declaration of Brian Delay
   13. Declaration of Stephen Hargarten
   14. Excerpts from Historical Regulations Cited


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